
	OSCN Found Document:IN RE: INITIATIVE PETITION NO. 397, STATE QUESTION NO. 767

	
				
            
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				IN RE: INITIATIVE PETITION NO. 397, STATE QUESTION NO. 7672014 OK 23326 P.3d 496Case Number: 112264Decided: 04/01/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 23, 326 P.3d 496

IN RE: INITIATIVE PETITION NO. 397, STATE QUESTION NO. 
767,

TAKE SHELTER OKLAHOMA and KRISTI CONATZER, 
Petitioners,v.STATE OF OKLAHOMA, ex rel., ATTORNEY 
GENERAL, E. Scott PRUITT Respondent.

APPEAL OF ATTORNEY GENERAL'S BALLOT TITLE

¶0 Proponents of an initiative petition brought an appeal in this Court 
challenging the ballot title prepared by the Oklahoma Attorney General for the 
proposed initiative. We hold that: 1. A proponent of an initiative 
petition must file or submit a copy of the initiative petition and a copy of the 
ballot title to the Attorney General when the proponent files the initiative 
petition and ballot title with the Secretary of State, 34 O.S. § 9 (A) &amp; (B); 2. The 
Attorney General must file a response to a ballot title within five business 
days from the date the ballot title is filed with the Secretary of State, 34 O.S. § 9 (D); 3. The Attorney 
General's § 9(D) response to a ballot title is statutorily effective although 
the Attorney General's response was filed two days late; 4. A proponent of an 
initiative who challenges a ballot title prepared by the Attorney General has 
the burden to show that the Attorney General's ballot title is legally 
incorrect, or is not impartial, or fails to accurately reflect the effects of 
the proposed initiative; 5. The Attorney General's ballot title challenged in 
this proceeding is legally correct, impartial, and accurately reflects the 
effects of the proposed initiative; 6. When a ballot title appeal has been made, 
a proponent's ninety-day period of time to collect signatures commences when the 
ballot title appeal is final.

BALLOT TITLE PREPARED BY THE OKLAHOMA ATTORNEY 
GENERALDECLARED TO BE LEGALLY SUFFICIENT FOR THE PROPOSED 
INITIATIVE

David R. Slane and Richard Morrissette, Oklahoma City, for 
Co-Petitioners/Proponents, Take Shelter Oklahoma, Kristi ConatzerNeal 
Leader, Senior Assistant Attorney General and Charles S. Rogers, Senior 
Assistant Attorney General, Oklahoma City, for Respondent State of Oklahoma, ex 
rel. Attorney General E. Scott Pruitt


EDMONDSON, J.
¶1 On Sept. 18, 2013, Initiative Petition No. 397, State Question 767 was 
filed with Secretary of State. The Initiative Petition proposes amendments to 
the State Constitution with an ultimate primary purpose of constructing storm 
shelters for schools. Proponents also filed with the Secretary of State a 
proposed ballot title for their proposed Initiative.
¶ 2 The Oklahoma Attorney General disagreed with Proponents' ballot title and 
then prepared and filed with the Secretary of State a new ballot title for the 
Initiative. Proponents disagreed with the ballot title prepared by the Attorney 
General and sought relief from this Court by filing an appeal from the new 
ballot title. Proponents' application for an order to disqualify the Attorney 
General from participation in this proceeding was withdrawn by counsel for 
Proponents during oral argument before the Court en banc and need not be 
addressed.
I. Attorney General's Jurisdiction to File a New Ballot 
Title

  
    Proponents claim that the Attorney General lost jurisdiction to file a 
    new ballot title because the Attorney General's objection to Proponents' 
    ballot title was untimely filed with the Secretary of 
State.
¶3 On Wednesday, September 18, 2013, Initiative Petition No. 397, State 
Question 767, was filed with Secretary of State by Proponents. On Thursday, 
September 19, 2013, the Secretary of State sent a notice by Interagency Mail to 
the Attorney General that an initiative petition had been filed and submitted a 
copy of the ballot title to the Attorney General. The Attorney General states 
that the notice from the Secretary of State was received on Friday, September 
20, 2013. On Friday September 27, 2013, the Attorney General filed with the 
Secretary of State a notice that the ballot title did not comply with applicable 
laws, and that pursuant to 34 
O.S.2011 § 9(D) he would prepare and supply to the Secretary of State a 
ballot title within ten days. On October 11, 2013, the Attorney General filed a 
ballot title with the Secretary of State.
¶4 Proponents argue that the Attorney General has five business days from the 
date the ballot title is filed with the Secretary of State to file an objection 
to a ballot title. They submit that they filed the ballot title on Wednesday 
September, 18, 2013, and that the Attorney General's objection filed on Friday, 
September 27, 2013, was beyond the five-day limit. They contend that the 
Attorney General lost jurisdiction to file an objection when the five-day period 
expired.
¶5 The Attorney General argues that the five-day period for him to file an 
objection to a ballot title commences when a ballot title is filed with the 
Attorney General by a proponent. The Attorney General submits that the 
Proponent failed to file the ballot title with the Attorney General and that 
this five-day period never commenced. Proponents argue that they are not 
required to file copies of a proposed initiative and ballot title with the 
Attorney General. The Attorney General also argues that his objection to the 
ballot title was filed with the Secretary of State within five business days 
from the date he received copies of the initiative petition and ballot title 
from the Secretary of State via interagency mail.
¶ 6 The parties have different views on the meaning of language in 34 O.S.2011 § 9 (A), (B), &amp; (D). 
The relevant language states that:

  
    A. When a referendum is ordered by petition of the people against any 
    measure passed by the Legislature or when any measure is proposed by 
    initiative petition, whether as an amendment to the Constitution or as a 
    statute, it shall be the duty of the parties submitting the measure to 
    prepare and file one copy of the measure with the Secretary of State and one 
    copy with the Attorney General.
34 O.S.2011 § 9(A) (emphasis 
added).

  
    B. The parties submitting the measure shall also submit a suggested 
    ballot title which shall be filed on a separate sheet of paper and shall not 
    be deemed part of the petition. . . .
34 O.S.2011 § 9(B) (emphasis 
added).
D. The following procedures shall apply to ballot titles of referendums 
ordered by a petition of the people or any measure proposed by an initiative 
petition:

  
    1. After the filing of the petition and prior to the gathering of 
    signatures thereon, the Secretary of State shall submit the proposed ballot 
    title to the Attorney General for review as to legal correctness. Within 
    five (5) business days after the filing of the measure and ballot title, the 
    Attorney General shall, in writing, notify the Secretary of State whether or 
    not the proposed ballot title complies with applicable laws. . . 
  .
34 O.S.2001 § 9 (D) (1) 
(emphasis added).
¶7 Section 9(A) states that the "parties submitting the measure" must prepare 
and file one copy of the "measure" with the Secretary of State and one copy with 
the Attorney General. In § 9(A) "submitting the measure" identifies who is 
required to file a copy of the measure with both the Attorney General and the 
Secretary of State.
¶8 Section 9(B) states that the parties "submitting the measure" "shall also 
submit a suggested ballot title . . . ." Section 9(B) does not expressly 
identify the Secretary of State, Attorney General or both are to receive the 
submitted ballot title. However, a party's duty to submit the ballot title is 
expressly stated to be performed with the act of submitting the proposed 
measure to the Attorney General and Secretary of State. Section 9(B) plainly 
states that the parties "submitting the measure" shall also submit a suggested 
ballot title.
¶9 The primary goal in reviewing a statute is to ascertain legislative 
intent, if possible, from a reading of the statutory language in its plain and 
ordinary meaning.1 This is so because the plain words of a statute are 
deemed to express legislative authorial intent in the absence of any ambiguity 
or conflict in language.2 The test for ambiguity in a statute is whether the 
statutory language is susceptible of more than one reasonable interpretation.3 Generally, and 
consistent with a court's construction of alleged ambiguity in a contract,4 a judicial 
determination of the presence of more than one reasonable construction of the 
statutory language, i.e., ambiguity, presents a question of law5 because the 
determination that a statutory construction is reasonable is based initially on 
a plain meaning of the words in the statute where no fact is disputed.6 The plain 
language of § 9 (A) &amp; (B) states that the ballot title is submitted with the 
measure, and the measure is submitted to both the Attorney General and the 
Secretary of State. We hold that Proponents were required to file or submit 
a copy of initiative petition and a copy of the ballot title to the Attorney 
General when they filed the initiative petition and ballot title with the 
Secretary of State.
¶10 The next argument made by the parties is whether the five business days 
for the Attorney General to object to a ballot title commence on (1) the day a 
proponent files the initiative petition and ballot title with the Secretary of 
State, or (2) the date the initiative petition and ballot title are filed with 
the Attorney General, or (3) the date the Attorney General receives notice from 
the Secretary of State that an initiative petition and ballot title have been 
filed.
¶11 The Attorney General's argument is that 34 O.S. § 9 should be construed to 
mean that the filed copy of the ballot title which it reviews for legal 
correctness is the one filed with the Attorney General, and that the filing of 
this copy with the Attorney General is also the event which commences the 
Attorney's General's five-day period to file an objection to the ballot title. 
We reject that construction of 34 
O.S. § 9, as contrary to the plain language of that statute.
¶12 The statutory language providing the Attorney General five business days 
to object to a ballot title does not occur in isolation from the rest of the 
statute in which it appears. The five-day period occurs not in paragraphs "A" or 
"B" but in paragraph "C" and immediately following a sentence stating that: 
"After the filing of the petition and prior to the gathering of signatures 
thereon, the Secretary of State shall submit the proposed ballot title to the 
Attorney General for review as to legal correctness." This sentence 
refers to the Secretary of State performing the act of submitting a copy of the 
ballot title to the Attorney General "for review as to legal correctness." The 
plain language of the statute states that the reason the Secretary of State 
submits a copy of the ballot title to the Attorney General is for the Attorney 
General to determine the legal correctness of the ballot title. Because of this 
duty on the Secretary of State to submit a copy of the ballot title to the 
Attorney General for review as to legal correctness, we conclude that the copy 
that the Secretary of State submits to the Attorney General is a copy of the 
ballot title filed of record with the Secretary of State.
¶13 Further, the language "[w]ithin five (5) business days after the 
filing of the measure and ballot title the Attorney General shall, in 
writing, notify the Secretary of State whether or not the proposed ballot title 
complies with applicable laws" occurs immediately after language stating that 
the Secretary of State has a duty to provide a copy of the ballot title to the 
Attorney General for the purpose of this determination. The statutory language 
does not state that the five-day period commences upon the date the Attorney 
General receives notice of the filing from the Secretary of State.
¶14 During oral argument before the Court en banc, counsel for the 
Attorney General argued that the Attorney General's construction of 34 O.S. § 9 was a long-standing 
construction of a statute by a state agency, and that a long-standing 
construction should be given deference by the Court. We agree that deference may 
be afforded to the long-standing construction of a statute by a state agency.7 We also 
recognize that continual construction of a statute by the agency charged to 
enforce it must be given great weight; and that when the Legislature has 
convened many times during a period in which an administrative agency has 
construed a statute and it has not expressed its disapproval with that 
construction, the Legislature's silence may be regarded as acquiescence in or 
approval of the agency's construction.8 However, upon a closer examination of the Attorney 
General's argument, we conclude that these principles do not apply.
¶15 Generally, a published Attorney General Opinion may be persuasive 
authority for a court, but a court is not bound by the Opinion of the Attorney 
General.9 It 
is also correct that legislative silence after promulgation of a published 
Attorney General Opinion may be judicially construed as a legislative approval 
of an Attorney General's construction of an ambiguous and uncertain statute.10 But in the 
matter before us, no published Attorney General Opinion has been cited in 
support of the Attorney General's construction of 34 O.S. § 9. We have no Attorney 
General Opinion before us that would allow us to examine its ratio 
decidendi for a quality of persuasiveness in legal argument. No published 
agency rule has been cited by the Attorney General.11 The record of facts before us 
contains no reference to a previous public construction of 34 O.S. § 9 by the Attorney 
General on the issues before the Court.12
¶16 Deference given to a state agency's construction of a statute is based 
upon the statute's language being ambiguous or uncertain,13 and the fact that the 
agency's construction must be legally reasonable when applied to the 
circumstance,14 and the agency's construction must be consistent 
and continual in a public manner so that the Legislature has notice of the 
construction by the agency.15 Is 34 
O.S. § 9 ambiguous and uncertain? We think not, and rules of construction 
for determining legislative intent for an ambiguous statute are not needed in 
this case.
¶17 Prior to 1994, paragraph § 9(D) expressly provided for the five-day 
period to commence on the date the ballot title was filed "with the Attorney 
General."16 
In 1994 this language expressly stating that the five-day period commenced upon 
filing with the Attorney General was removed from the statute by legislative 
amendment.17 The 1994 amendment also added language that the 
Secretary of State "shall submit the proposed ballot title to the Attorney 
General for review as to legal correctness."18 In one legislative act the 
Secretary of State was given the duty of providing a copy of the ballot title to 
the Attorney General for a review of the ballot title's legal correctness and 
the date to commence the five-day period for the Attorney General to file an 
objection was changed.19
¶18 During oral argument before the Court en banc, counsel for the 
Attorney General argued that a "five full days" were needed by the Attorney 
General to examine a proposed initiative and ballot title to make a correctly 
reasoned and informed approval of, or objection to, a ballot title, and that the 
Attorney's General's five-day limit should not be shortened by whatever means 
the Secretary of State may, in his or her discretion, use to provide a copy of 
the ballot title to the Attorney General. In the absence of evidence to the 
contrary, a court will generally presume that a public official will act in good 
faith to perform the official's duties and will faithfully discharge the duties 
the law imposes on the official.20 We decline to assume that a Secretary of State 
will select a method of notice that is inconsistent with 34 O.S. § 9(D), or that a Secretary 
of State is either unwilling or unable to convey a copy of the ballot title to 
the Attorney General immediately upon its filing when the Secretary of 
State performs this duty imposed by 34 O.S. § 9(D).
¶19 Because of the arguments of the parties, we must note that the day an 
initiative petition is filed with the Secretary of State is not counted as the 
first day of the five-day period because fractions of a day are disregarded in 
statutory computations which include more than one day and when there is no 
question of priority involved.21 We must note that § 9(D) does not use the language 
suggested by the Attorney General that it is necessary that he be provided "five 
full days" to file a response to the ballot title. The statute requires the 
Attorney General's response within five days from the filing with the 
Secretary of State. We also note that the "five days" is further defined by the 
statute as five business days. We construe the phrase "business" to be 
consistent with 25 O.S. Supp. 2012 § 
82.1, and therefore exclude statutory "holidays" defined in § 82.1, so that 
a business day would be Monday through Friday, inclusive, and does not include 
Saturday, Sunday, or any statutorily listed holiday in § 82.1 which may fall 
on any day within the five-day period after the initiative petition and 
ballot title are filed with the Secretary of State.22
¶20 After a proponent submits a copy of both the proposed measure and ballot 
title to both the Secretary of State and the Attorney General, and before 
signatures are collected, the Secretary of State submits the proposed ballot 
title to the Attorney General for review as to legal correctness, and the 
Attorney General must respond within five business days, and the response must 
state whether a proposed ballot title complies with applicable laws.23 If the 
Attorney General objects to the ballot title, then the Attorney General must 
file with the Secretary of State a corrected ballot title within "ten (10) 
business days of determining that the proposed ballot title is defective."24
¶21 The ballot title was filed with the Secretary of State on Wednesday, 
September 18, 2013. The first day of the five-day period was Thursday, September 
19, 2013, and the fifth day was Wednesday, September 25, 2013. The response was 
filed by the Attorney General with the Secretary of State on Friday, September 
27, 2013. The response was filed two days late. Proponents argue that the 
Attorney General had ten business days from September 25, 2013, to file a new 
ballot title and the new ballot title had to be filed by Wednesday, October 9, 
2013. They argue that the ballot title filed by the Attorney General on Friday, 
October 11, 2013, was untimely and of no legal effect. However, if the filing of 
the Attorney General on September 27, 2013, although untimely, still retained 
legal efficacy, then the ballot title filed by the Attorney General on October 
11, 2013, was on the tenth business day after he filed his initial response to 
ballot title.
¶22 Proponents argue that the 34 
O.S. § 9 (D) duty imposed on the Attorney General is a mandatory duty to 
file a response within five business days; and then if an objection to the 
ballot title is timely made, the duty to file a new ballot title within ten 
business days is also a mandatory duty. Proponents conclude that because the 
time limit is mandatory it is also jurisdictional. They state that the Attorney 
General lost jurisdiction to respond to the ballot title and to file a new 
ballot title when he did not file within five days from the date the ballot 
title was filed with the Secretary of State.
¶23 Generally, the legal principle which has been followed in this 
jurisdiction for many years is that a public official performing a statutorily 
required duty will not be divested of jurisdiction to perform that duty by the 
mere passage of time unless the statute also states that the duty shall not be 
performed by that official after the expiration of a certain time or date. For 
example, in School District No. 61, Payne County v. Consolidated District No. 
2, Coyle, Logan County, 1925 OK 
518, 237 P. 1110, we stated 
the following:

  
    The case of People v. Cook, 14 Barb. (N. Y.) 259 [1852], seems to 
    be one among the early cases passing upon this question, and is frequently 
    referred to in later decisions, wherein the following rule is announced in 
    the syllabus of the opinion:
    Statutes directing the mode of proceeding by public officers are 
    directory, and a strict compliance with their provisions is not essential to 
    the validity of the proceedings, unless it be so declared in the statute. 
    Within this principle, where a statute directs a public officer to do a 
    thing within a certain time, without any negative words restraining him from 
    doing it afterwards, the naming the time will be regarded as directory 
    merely, and not as a limitation of his authority. This rule has been 
    very steadfastly adhered to, by the courts, in all cases where certain acts 
    are directed to be done, by public officers, within a stated time, and in a 
    particular manner, when those acts are of a public character, and concern 
    the public interests, or when the rights of third persons are concerned.
    A discussion of the rules announced in the syllabus above quoted will be 
    found on page 290 and the following pages of the opinion, citing numerous 
    authorities illustrating the application of the rules announced.
    In 25 Rawle C. L. p. 769, § 16, the following language is found:"In 
    general, statutory provisions directing the mode of proceeding by public 
    officers and intended to secure order, system, and dispatch in proceedings, 
    and by a disregard of which the rights of parties cannot be injuriously 
    affected, are not regarded as mandatory, unless accompanied by negative 
    words importing that the acts required shall not be done in any other manner 
    or time than that designated. * * *"
School District No. 61, Payne County, 237 P. at 1111 (emphasis 
added).
Application of School District No. 61, Payne County, supra, 
requires an examination of 34 O.S. § 
9, and a determination if any words state that the acts required by the 
Attorney General shall not be done in any other manner or time than that 
designated. There is no express language in 34 O.S. § 9 which removes 
jurisdiction from the Attorney General to file an objection to a ballot title 
two days late, and there is nothing in the plain language of § 9 indicating a 
legislative intent to remove the Attorney General from the ballot title 
procedure by an untimely response to the filing of an initiative or ballot 
title.25
¶24 Our opinion in School District No. 61, Payne County, supra, 
was released in 1925 and applied a principle used by several courts since at 
least 1852.26 Proponents have not made any argument that the 
holding in School District No. 61, Payne County, supra, has been 
superseded. The rationale used in School District No. 61, Payne County, 
supra, is found in other contexts such as the general rule that 
jurisdiction of a court, once correctly invoked, will not usually be divested by 
a subsequent event such as the passage of time unless a statute expressly states 
the contrary or if a legislative intent is shown that would make a time limit 
mandatory.27 Proponents have not made any argument that a 
recognized public policy calls for modifying or overruling School District 
No. 61, Payne County, supra. The Legislature is certainly aware that 
in the context of the initiative process it may restrict a filing after a 
certain date, and appears to have used such language in 34 Ohio St. 2011 §4, where with 
reference to filing signature sheets with the Secretary of State it has enacted 
language stating that "additional signature sheets shall not be accepted after 
5:00 p.m. on the ninetieth day."28
¶25 We recognize the possibility that a statute may express a mandatory 
requirement in the absence of express language stating that the 
requirement is mandatory. Several rules of construction may be used to make a 
determination whether express language is necessary to create mandatory law or 
alter certain legal interests in a particular circumstance.29 Specifically, when 
examining whether statutory language is mandatory in the context of statutorily 
specified time limits, the Court may examine whether statutory time limits 
"attach directly to the right created."30 Before us today we have no 
authority cited in either briefs or in oral argument concerning whether express 
language is necessary to show a mandatory statutory requirement in this context 
or whether the five-day limit attaches to a right itself. However, the issue 
presented is publici juris because it concerns the proper procedure used 
by the People when enacting legislation.31 Because the issue is publici 
juris and no additional evidence is necessary to adjudicate an issue of law, 
we may nevertheless adjudicate the issue whether the five-day period is 
mandatory in nature.32
¶26 The purpose of the statutory initiative process is to provide a procedure 
where the People, the citizens of Oklahoma, exercise their right of initiative 
whereby they propose bills and laws and enact them or reject them at the polls 
independent of legislative assembly.33 This right of the People to enact laws through an 
initiative petition process is reserved in Article V § 1 of the Oklahoma 
Constitution,34 and we have explained that the People's right is a 
fundamental and precious right zealously protected by this Court.35 Proponents 
view the Attorney General's participation in the initiative petition process in 
this case as an obstruction to the People's right of initiative. We disagree. As 
we explain herein, the Attorney General's participation is not as a typical 
counsel in an adversarial litigation dispute. An Attorney General does not use 
the People's initiative process as a vehicle to champion his or her political 
positions. An Attorney General's participation in an initiative process is as a 
neutral legal advisor for the People. The Attorney General is required by 
statute to give an opinion on a ballot title proposed with an initiative 
petition and is required by statute to defend ballot titles, either those 
filed by proponents which he approves, or those authored and filed by the 
Attorney General. Participation by the Attorney General in every initiative 
petition proceeding is required by statute.
¶27 The Constitution grants to the People a right to an initiative and states 
that the Legislature shall make suitable provisions for carrying into effect 
this right,36 and the statutorily required participation by the 
Attorney General in the ballot title process is part of the initiative 
process for carrying into effect the right of the People. As we note herein, 
a properly worded ballot title is one means used to combat fraud and deceit in 
the initiative process. The ballot title functions as a safeguard to protect the 
initiative right of the People, and "we will not cripple, avoid or deny by 
technical construction the initiative right."37 This portion of Proponents' 
argument ultimately rests upon a technical construction that the five-day filing 
period for the Attorney General in 34 
O.S. § 9(D) must be attached to a right possessed by, and litigated by, an 
Attorney General. We reject this view as contrary to the plain language of 34 O.S. § 9(D) and conclude that the 
five-day period § 9(D) does not attach directly to a statutorily created right 
possessed by the Attorney General. The plain language of the statute places a 
duty upon the Attorney General that is the nature of the exercise of a 
governmental function that is part of a legislative process used by the 
People.
¶28 Proponent's jurisdiction argument requires a determination whether the 
Legislature "had uppermost in mind" the effect of the procedural step at 
issue upon the process, and whether the Legislature intended it not as a 
"mere procedural step" but a requirement that was essential to the result 
of the process or the Legislature's intended goal.38 In Proponents' argument, the 
"procedural step" which they urge as jurisdictional is the timeliness of 
the response filed by the Attorney General. However, we find no legislative 
intent in the plain language of the statute to make the timeliness of the 
response an essential or critical step in the result of the initiative 
process.
¶29 Our conclusion will not impose any additional burden upon the People to 
propose initiatives. This is so because (1) the Attorney General concedes that 
timeliness of his actions may be controlled by mandamus, and (2) as explained 
herein, we recognize that a proponent's ninety-day period to collect signatures 
may commence after a ballot title appeal in accordance with the plain language 
and meaning of the ballot title statutes and prior opinions of this Court.
¶30 We have stated the general rule that "Those who challenge the validity of 
actions of public officials apparently within their statutory powers must carry 
the burden of demonstrating such invalidity."39 Proponents have not met their 
burden to show that the Attorney General's filing two days late deprived the 
filing of legal effect. We reject the argument made by Proponents that the time 
limits for the Attorney General in 34 
O.S. §9(D) are jurisdictional. We hold that the Attorney General's § 9(D) 
response to a ballot title required by law to be filed within five days from the 
date the ballot title is filed with the Secretary of State is statutorily 
effective although the Attorney General's filing is two days late. School 
District No. 61, Payne County, supra.
¶31 Although we reject Proponents' argument that the five-day time limit for 
the Attorney General in 34 O.S. § 
9(D) is jurisdictional, we must note that an Attorney General may not thwart 
an initiative by failing to file a response to the filings with the Secretary of 
State. Counsel for the Attorney General observed in his brief and during oral 
argument that the proper judicial remedy for a violation of this five-day 
deadline would be a writ of mandamus to compel a response.40 We also note that 
although the Attorney General states that mandamus may be used, he also invokes 
the substantial compliance standard of 34 O.S. § 24.41
¶32 In some circumstances, judicial application of a substantial compliance 
standard to a duty to take an action within a defined period of time may result 
in an excused performance within that time period.42 Although not expressly 
argued as a syllogism, when his § 24 substantial-compliance-standard argument is 
combined with his argument that after receipt of the ballot title by 
the Attorney General a "full five days" of legal research is needed by the 
attorney(s) assigned to review a proposed ballot title and file a response with 
the Secretary of State, he is essentially creating a syllogism with the 
conclusion that he should be excused from the five-day period for filing a 
response to a ballot title because factual circumstances prevent him from 
meeting this deadline. With this conclusion, the Attorney General's hypothetical 
mandamus action would not turn on whether the Attorney General had missed the 
five-day deadline, but whether the Attorney General had sufficient factual 
reasons for delay past the five-day deadline and only when such reasons were 
legally insufficient would the writ issue.43 We decline to adopt this view.
¶33 There is no suggestion or evidence before us from the Attorney General 
that fulfilling the duty to file an initial response to a ballot title takes 
more than five days. We assume that a Secretary of State will act in good faith 
and perform his or her duty and provide a copy of ballot title to an Attorney 
General immediately upon its filing. Berryman v. Bonaparte, supra. 
We also assume that an Attorney General will act in good faith and perform his 
or her duty and file a timely response to any ballot title filing with the 
Secretary of State. Id.
¶34 We agree with that part of the Attorney General's statement that the 
statutory role of the Attorney General in drafting a ballot title does not place 
him in the usual and ordinary adversarial posture that occurs in a litigation 
context, or provide him with a public platform to express political views. He 
represents all of the People in the context of either approving a ballot title 
written by others or providing one which he authors. The purpose of a ballot 
title along with the gist appearing on a signature page is to prevent deceit and 
fraud in the initiative process.44 We agree with the Attorney General that he is 
required by statute to be made a defendant if anyone timely objects to a 
proposed ballot title,45 and he must defend a ballot title, either one 
prepared by a proponent which he approved and did not alter, or one he authored 
and substituted for the initial title. His filing a response to the ballot title 
is an important step in the process of the initiative to help prevent deceit and 
fraud, and that filing should not be made ineffective in the absence of 
legislative intent requiring that result.
¶35 Ideally, in this limited role as a legal advisor to the People, the 
Attorney General is not merely reactive to a particular proponent of an 
initiative who fails to provide him with statutorily required notice, or merely 
reactive to a particular Secretary of State who selects a means of notice to the 
Attorney General that is less than immediate. But rather, that he takes positive 
action for a quick review of the ballot title once it is filed with the 
Secretary of State and he has notice of its filing. Ideally, a proponent of an 
initiative and a Secretary of State would provide the Attorney General with the 
types of notice which the statutes require and the Attorney General needs. We 
are confident that proponents of initiatives, the Secretary of State, and the 
Attorney General will work together in the future to avoid the procedural issues 
which are a large part of this controversy.
II. Burden of Proof and Standard of Review

  
    Proponents claim that in a ballot title appeal the Attorney General bears 
    the burden of proof to show that a ballot title proposed by Proponents did 
    not satisfy legal requirements.
¶36 Any person who is dissatisfied with the wording of ballot title for an 
initiative petition may bring a proceeding in this Court pursuant to 34 O.S. § 10.46 The Attorney General is 
required to "defend the ballot title from which the appeal is taken."47 Oklahoma 
Supreme Court Rule 1.194 provides that an objection to an initiative petition is 
commenced in the Supreme Court and the controversy proceeds in accordance with 
the procedures set out in 34 O.S. § 
8. It further states that the proceeding shall be treated as an original 
action, and that the parties shall be afforded a trial de novo.48 The 
procedure for an appeal of a ballot title is the same for proceedings 
challenging the petition when no statutory conflict necessarily exists between 
the statutes for the two types of proceedings.49
¶37 Generally, statutes on the same subject matter are viewed in pari 
materia and construed together as a harmonious whole giving effect to each 
provision.50 However, we need not rely on this principle as a 
rule of statutory construction because the plain language of 34 O.S. §§ 8, 9, 10 and 11 make 
express reference to each other and expressly require that the statutes be 
construed and applied together. For example:

  
    B. It shall be the duty of the Secretary of State to cause to be 
    published, in at least one newspaper of general circulation in the state, a 
    notice of such filing and the apparent sufficiency or insufficiency of the 
    petition. Such publication shall include the text of the ballot title as 
    reviewed or, if applicable, as rewritten, by the Attorney General pursuant 
    to the provisions of subsection D of Section 9 of this title, and shall 
    include notice that any citizen or citizens of the state may file a protest 
    as to the constitutionality of the petition, by a written notice to the 
    Supreme Court and to the proponent or proponents filing the petition, or as 
    to the ballot title as provided in Section 10 of this title. Any such 
    protest must be filed within ten (10) days after publication. A copy of the 
    protest shall be filed with the Secretary of 
State.
34 O.S.2011 § 8(B) (emphasis 
added).

  
    A. Any person who is dissatisfied with the wording of a ballot title may, 
    within ten (10) days after the same is published by the Secretary of State 
    as provided for in subsection B of Section 8 of this title, appeal to the 
    Supreme Court by petition in which shall be offered a substitute ballot 
    title for the one from which the appeal is taken. Upon the hearing of such 
    appeal, the court may correct or amend the ballot title before the court, or 
    accept the substitute suggested, or may draft a new one which will conform 
    to the provisions of Section 9 of this title.
34 O.S.2011 § 10 (A) (emphasis 
added).

  
    Notice of the appeal provided for in the preceding section shall 
    be served upon the Attorney General and upon the party who filed such ballot 
    title, or on any of such parties, at least five (5) days before such appeal 
    is heard by the court. The Attorney General shall, and any citizen 
    interested may, defend the ballot title from which the appeal is taken. 
    Other procedure upon such appeals shall be the same as is prescribed for 
    appeals from petitions filed as set forth in Section 8 of this 
  title.
34 O.S.2011 § 11 (emphasis 
added).
The plain language in these statutes requires applying them together as a 
whole because: (1) § 8 refers to the Attorney General's ballot title in § 9 and 
an appeal with reference to § 10; (2) § 10 refers to both §§ 8 and 9 for 
application of § 10; and (3) § 11 refers to the appeal "provided for in the 
preceding section," (i.e., § 10), and then incorporates consistent § 8 
procedure for initiative appeals into the procedure for a ballot title appeal by 
using the phrase, "Other procedure upon such appeals shall be the same as is 
prescribed for appeals from petitions filed as set forth in Section 8 of this 
title." Section 9 refers to the requirements for a ballot title and the 
procedure for a ballot title prepared by the Attorney General, and it provides 
that if an appeal is taken from a ballot title within the time specified in 
Section 10 of this title, then the Secretary of State shall certify to the 
Secretary of the State Election Board the ballot title which is finally approved 
by the Supreme Court. 34 Ohio St. 2011 § 
9 (D) (2). These statutes clearly and plainly provide that any person who is 
dissatisfied with the ballot title may file an appeal in this Court, the 
Attorney General defends the action, the procedure for a ballot title appeal is 
governed by the specific statutes for such, and then additional consistent 
procedures from initiative appeals are incorporated into ballot title appeals by 
34 O.S. § 11.
¶38 Proponents argue that the Attorney General has failed to meet his burden 
of proof in this proceeding. They argue that the Attorney General must meet the 
burden of showing that the ballot title proposed by Proponents is legally 
insufficient. We disagree with the conclusion made by Proponents.
¶39 Generally, the party invoking a court's judicial discretion with a 
request for judicial relief must satisfy the applicable burden for the relief 
sought. A burden to present facts, claims and legal arguments falls on the party 
who asserts an entitlement to the judicial relief sought.51 An appeal of a ballot 
title is prosecuted using the Court's original jurisdiction.52 In an original 
jurisdiction proceeding a petitioner has the burden to produce facts in support 
of a claim,53 as well as a burden to present legal issues with 
supporting authority.54 In the present context, the burden on Proponents 
is to raise legal issues in a procedurally proper manner and show those facts in 
a procedurally proper manner which are necessary to support the legal issues 
Proponents raise.
¶40 When an Attorney General changes a ballot title, the ballot title written 
by the Attorney General becomes the ballot title for that initiative 
unless the title is altered on an appeal to this Court. The Attorney General's 
ballot title is the one "from which the appeal is taken." 34 O.S. § 10. The party bringing an 
appeal shall file a "petition in which shall be offered a substitute 
ballot title." Id. In the present case, it is the ballot title filed by 
the Attorney General which is the ballot title of the initiative, unless changed 
on appeal. The Court has accepted a ballot title written by an Attorney General 
when the Court could not conclude that the text for the ballot title was 
"clearly contrary" to the command of statutory law.55 We have stated, "Where the title 
submitted by the Attorney General is found sufficient it is generally approved 
and utilized regardless of the sufficiency of those submitted by other 
parties."56 
The burden is on Proponents to show that the ballot title prepared by the 
Attorney General is clearly contrary to either statutory law or the Oklahoma 
Constitution.
III. The Attorney General's Ballot Title

  
    Proponents claim that the ballot title prepared by the Attorney General 
    violates statutory law and displays partiality.
¶41 Petitioners' initially proposed ballot title, now the substitute ballot 
title offered on appeal, states as follows:

  
    This measure amends the Oklahoma Constitution. It adds a new section 44 
    to Article 10. Bonds could be sold. Up to Five Hundred Million Dollars 
    ($500,000,000.00) could be available. Bond money would be used for school 
    districts and career technology districts. Bond money would be used for 
    storm shelters or secure areas. State franchise taxes would repay these 
    bonds. If money from franchise tax was not enough, the Legislature could use 
    the General Revenue Fund to repay the bonds. State bond money could be used 
    by school districts or career technology districts to reduce local debt or 
    eliminate local debt incurred for storm shelters or secure areas. If enough 
    money from franchise tax remains after state bonds are paid for, the balance 
    of franchise tax could be used for grants for storm shelters for people and 
    businesses. When state bonds are paid off, additional bonds could be sold to 
    keep the programs funded. Laws would be written for details about using bond 
    money. State agencies could make rules about state bond money. These rules 
    would have the effect of law. The Oklahoma State Constitution is being 
    amended to allow state bond money to pay for shelters and secure areas in 
    schools.
¶ 42 The current ballot title for the initiative, the ballot title prepared 
by the Attorney General, states as follows:

  
    This measure adds Article 10, Section 44 to the Oklahoma Constitution. 
    The new section authorizes the issuance of up to 500 million dollars in 
    State bonds. The bond money would be used by local school districts and 
    career technology districts for storm shelters and campus security.
    The measure does not provide for new State revenues to pay for the bonds. 
    Under the measure the State franchise tax revenues would no longer go into 
    the General Revenue Fund, which is the primary fund used to pay for State 
    Government. Rather, franchise taxes revenues would be used for annual bond 
    payments (principal and interest).
    In any year in which the franchise tax revenues are not sufficient to 
    make annual payments, the Legislature, at its discretion, could use General 
    Revenue Fund monies to make the annual bond payment.
    In years in which not all the franchise tax revenues are needed to make 
    payments, the remaining franchise tax revenues - with Legislative approval - 
    could be used for storm shelter grants to individuals and businesses.
    In authorizing these bond and grant programs, the measure creates 
    exceptions to the Constitution's prohibitions on gifts and the use of the 
    state's credit.
¶43 A ballot title has six basic requirements set forth in 34 O.S. § 9 (B). A suggested ballot 
title:

  
    1. Shall not exceed two hundred (200) words;2. Shall explain in basic 
    words, which can be easily found in dictionaries of general usage, the 
    effect of the proposition;3. Shall not contain any words which have a 
    special meaning for a particular profession or trade not commonly known to 
    the citizens of this state;4. Shall not reflect partiality in its 
    composition or contain any argument for or against the measure;5. Shall 
    contain language which clearly states that a "yes" vote is a vote in favor 
    of the proposition and a "no" vote is a vote against the proposition; 
    and6. Shall not contain language whereby a "yes" vote is, in fact, a 
    vote against the proposition and a "no" vote is, in fact, a vote in favor of 
    the proposition.
34 O.S.2011 § 9 (B), in 
part.
¶44 Proponents' arguments against the Attorney General's ballot title are 
that it is legally incorrect and displays partiality. In their original brief 
the only argument challenging the ballot title is that it "is designed to over 
emphasize the franchise tax issue and under emphasize the true purpose of the 
Initiative which is storm shelters and secure areas for schools and children . . 
. The proposal from the Attorney General is misleading, confusing and will not 
help the average voter when he or she votes." Their Supplemental Brief makes the 
following four arguments against the ballot title.

  
    1. The second paragraph shows partiality because it makes an argument 
    against the proposition because it states that no new revenues are raised to 
    pay for the bonds;
    2. The second paragraph shows partiality because it suggests potential 
    harm to the General Revenue Fund since it states that the franchise tax 
    revenue will not be deposited to that fund;
    3. The second paragraph is legally incorrect because by the time the 
    Proposed Measure is adopted the Legislature could direct franchise taxes to 
    some fund other than the General Revenue Fund; and
    4. "The last paragraph is legally incorrect since passage of the measure 
    amends to [sic] Constitution to provide for such."
These first three arguments object to ¶ 2 of the title which states that:

  
    The measure does not provide for new State revenues to pay for the bonds. 
    Under the measure the State franchise tax revenues would no longer go into 
    the General Revenue Fund, which is the primary fund used to pay for State 
    Government. Rather, franchise taxes revenues would be used for annual bond 
    payments (principal and interest).
¶45 Proponents object to the first sentence and state that it reflects 
partiality. The sentence: "The measure does not provide for new State revenues 
to pay for the bonds" is factually correct, as the measure states that the 
franchise tax in "section 1201 et seq. of Title 68" will be used to pay the bond 
obligation.
¶46 During oral argument before the Court en banc, Proponents refined 
this argument and used the language in the first sentence and the mention of 
"franchise tax" in more than one place in the ballot title as evidence of 
partiality. In other words, they argued that the Attorney General overemphasized 
use of the franchise tax, and it is this overemphasis which shows 
partiality.
¶47 The proposed measure contains the following language.

  
    E. The Legislature shall provide by law for the apportionment of the 
    revenues currently derived from the levy of the franchise tax 
    imposed for the privilege of doing business in this state as authorized 
    pursuant to Section 1201 et seq. of Title 68 of the Oklahoma Statutes, as 
    amended, so that one hundred percent (100%) of such franchise tax 
    revenue, or so much thereof as may be required on an annual basis, is 
    dedicated for the repayment of the obligations issued pursuant to the 
    provisions of this section.
    F. The Legislature may provide by law for the use of revenues derived 
    from the levy of franchise tax which are not required for repayment of 
    obligations issued pursuant to the provisions of this section in order to 
    provide a grant program for construction of storm shelters for individuals 
    and business entities. Such program shall be administered by the Office of 
    Emergency Management or its successor. The use of franchise tax 
    revenues for storm shelters as authorized by this subsection shall be 
    deemed in furtherance of a public purpose and shall not be deemed a gift of 
    state tax revenues.
    G. If the revenues described by subsection E of this section are 
    insufficient to repay the obligations pursuant to the provisions of this 
    section, the Legislature may use monies in the General Revenue Fund of the 
    state not otherwise obligated, committed or appropriated in order to ensure 
    the repayment of such obligations.
Two paragraphs of this proposed measure expressly refer to the franchise tax 
and one refers to "the revenues" which is a reference to revenue from the 
franchise tax. A ballot title shall explain the effect of a proposition. 34 O.S. § 9 (B) (2). We may 
summarize the effect of these paragraphs and enumerate the references in the 
measure to franchise tax revenue as follows:

  
    In paragraph "E"
    (1) The Legislature shall provide by a legislative apportionment that 
    100% (or so much as is needed) of the franchise tax revenue is dedicated to 
    repayment of certain obligations.
    In paragraph "F"
    (2) The Legislature may use amounts from the franchise tax revenue that 
    are not necessary for repayment of certain obligations for a grant program 
    for construction of storm shelters for individuals and business 
entities.
    (3) The use of franchise tax revenues for storm shelters as authorized by 
    this subsection shall be deemed in furtherance of a public purpose and shall 
    not be deemed a gift of state tax revenues.
    In paragraph "G"
    (4) If the revenues described by subsection E of this section 
    [i.e., franchise tax revenues] are insufficient to repay the obligations 
    pursuant to the provisions of this section, the Legislature may use monies 
    in the General Revenue Fund . . . .
In the proposed measure there are three express references to the franchise 
tax revenue and one grammatical reference, or a total of four references. In the 
Attorney General's ballot title there are five references to the franchise tax 
revenue that are used to explain the four references we have identified in the 
proposed measure. We also note that the phrase "franchise tax(es)" expressly 
appears four times in Proponent's proposed ballot title.
¶48 The difference of one reference is attributed to the sentence in the 
Attorney General's ballot title which states that "Under the measure State 
franchise tax revenues would no longer go into the General Revenue Fund, which 
is the primary fund used to pay for State Government." The proposed measure does 
refer to the General Revenue Fund in paragraph "G" of the measure but without 
giving a definition for "General Revenue Fund." This reference to the Fund in 
the proposed measure, as well as the express reference to the Fund in 
Proponent's substitute title, are not references to the franchise tax revenue 
going into the Fund prior to an enactment of the measure.
¶49 In one case we stated that a single sentence may express partiality and 
be argumentative, if when explaining a proposed measure it also includes what 
other states have done or might do with a proposal similar to that 
to be voted on by the citizens in Oklahoma.57 For the purpose of examining 
partiality in a ballot title, we noted the difference between a ballot title 
stating what other States might do and what the proposed Oklahoma measure 
would do under then current law.58 In this circumstance, the possibility of what 
voters in other states would do was considered to be beyond the legal effect or 
legal scope of the proposed measure; i.e., it amounted to a policy 
argument and not a statement of a legal effect created by the enactment of the 
proposed measure.
¶50 A similar issue arose in another case where we discussed legal effect and 
noted that a portion of a ballot title was misleading. The misleading nature of 
language in the title was not because the title expressed something as a legal 
effect when it was a contingency, but because the title did not explain the 
correlation between the contingency and the legal effect of the measure.59
¶51 Current law states that the franchise tax shall be deposited into the 
General Revenue Fund.60 Proponents do not dispute that the General Revenue 
Fund is the primary fund used to pay for state government.61 While the measure does 
not state that the current franchise tax is paid into the General Revenue Fund, 
and the measure does not define "General Revenue Fund," one effect from the 
proposed measure is clearly to change the franchise tax revenue from deposit 
into the Fund to a dedicated purpose of funding the construction of storm 
shelters. Proponents argue that "[w]here the revenue of the franchise tax is 
currently being deposited is irrelevant and has no impact as to the legal 
correctness of the ballot title as it does not matter where such revenue is 
deposited since the petition would direct that the revenue from the franchise 
tax be used to repay the bond debt." Section 9(B) expressly states that the 
ballot title: "Shall explain in basic words, which can be easily found in 
dictionaries of general usage, the effect of the proposition." 34 O.S. § 9(B)(2). Since (1) the 
franchise tax is currently being collected and being used for one use (deposited 
in the General Revenue Fund) and the measure states a new use for the tax (to 
pay for bonds), and (2) one purpose of a ballot title is to explain the effect 
of a proposed measure with reference to current law, the Attorney General did 
not impermissibly explain that funds currently being deposited in one fund will 
be used for a different purpose. We do not find the one additional reference to 
the franchise tax and the definition of the General Revenue Fund to be 
argumentative or displaying partiality.
¶52 A ballot title shall not exceed two hundred words, 34 O.S. § 9(B)(1). We do not view 
the use of five references to the franchise tax as opposed to four to be 
excessive to the point of displaying partiality when the Attorney General is 
attempting to summarize a measure in less than two hundred words and uses 
grammatical shortcuts to achieve this goal.
¶53 Stating that funds currently deposited in one fund will be used for a 
different purpose does not, by itself, state that a "harm" will occur to that 
fund. The claim that the title is contrary to law because the Legislature could 
change the state fund where franchise taxes are deposited, or change their use 
prior to a vote on the proposed measure, is a claim simply without merit. The 
ballot title is required to state its effect on current law. While it is 
certainly possible that a Legislature could create a law with an effective date 
sufficiently in the future so as to have an impact upon an initiative petition, 
Proponents have pointed to no law which has been created for a future effective 
date that would alter the proposed measure's legal effect.
¶54 Proponents object to the last paragraph of the Attorney General's ballot 
title and argue that it is legally incorrect. The last paragraph states: " In 
authorizing these bond and grant programs, the measure creates exceptions to the 
Constitution's prohibitions on gifts and the use of the state's credit." Their 
objection is that passage of the measure itself provides for amending the 
Constitution.
¶ 55 We note that while Proponents' substitute title does not mention gifts 
or the state's credit, the proposed measure states in paragraph "F" that the use 
of the franchise tax for the storm shelters as authorized by this subsection " . 
. . shall not be deemed a gift of state tax revenues" and in paragraph "M" the 
measure states that:

  
    The proceeds from the sale of obligations issued pursuant to the 
    provisions of this section may be made available to any common school 
    district or any career technology district for the purposes authorized by 
    this section and enabling legislation enacted pursuant to this section 
    notwithstanding any other provision of the Oklahoma Constitution that would 
    otherwise prohibit or restrict the use of such proceeds or the use of tax 
    revenue for the repayment of principal, interest, reserves, issuing costs or 
    other costs related to the sale of the obligations authorized by this 
    section. Any provision of the Oklahoma Constitution that would otherwise 
    restrict the use of tax revenues for repayment of the obligations or in any 
    way restrict the operation of the provisions of this section shall be deemed 
    to have been amended in order to remove any such 
restrictions.
Proponents argue that the proposed measure states that the Constitution "is 
amended," and their substitute ballot title states that " The Oklahoma State 
Constitution is being amended to allow state bond money to pay for shelters and 
secure areas in schools." The Attorney General argues that while bond money is 
to be used to pay for shelters, the proposed measure also enacts a means or 
method for attaining this goal or ultimate purpose, and that means is achieved 
by amending the Constitution and creating exceptions to the Constitution's 
prohibitions on gifts and the use of the state's credit. Proponents' have not 
demonstrated that the Attorney General has incorrectly stated the legal effect 
of the measure on this point.
¶56 Proponents also argue that the Attorney General makes a claim that "there 
may not be any funds available to pay the bond holders," and Proponents argue 
that the statement " . . . is false, so this false statement is irrelevant to 
the legal correctness of the ballot title as submitted by the Petitioners." The 
Attorney General's ballot title does not contain this language. The actual 
statement in the ballot title is: "In any year in which the franchise tax 
revenues are not sufficient to make annual payments, the Legislature, at its 
discretion, could use General Revenue Fund monies to make the annual bond 
payment." The actual statement in the proposed measure states that:

  
    G. If the revenues described by subsection E of this section are 
    insufficient to repay the obligations issued pursuant to the provisions of 
    this section, the Legislature may use monies in the General Revenue Fund of 
    the state not otherwise obligated , committed or appropriated in order to 
    ensure the repayment of such obligations.
The language in the Attorney General's ballot title summarizes this language 
in the proposed measure and is not misleading.
¶57 Proponents argue that the Attorney General's ballot title creates doubt 
whether the Legislature is required to repay the bond obligations. Again the 
actual provision of the Attorney General's ballot title states that: "In any 
year in which the franchise tax revenues are not sufficient to make annual 
payments, the Legislature, at its discretion, could use General Revenue Fund 
monies to make the annual bond payment." Again, this language summarizes 
paragraph "G" of the measure and is not misleading. The Attorney General 
correctly indicates that the Legislature could use funds from the General 
Revenue Fund or from another source to repay the bond obligations. Paragraph 
"G." of the proposed measure states that " . . . the Legislature may use 
monies in the General Revenue Fund of the state . . . ." (emphasis added). The 
Attorney General's ballot title language is not a false statement.
¶58 Proponents state that the ballot title reflects partiality because it 
states that franchise taxes will not be paid into the General Revenue Fund. The 
substitute ballot title by Proponents discusses a relationship between 
the franchise tax and the General Revenue Fund: "If money from franchise tax was 
not enough, the Legislature could use the General Revenue Fund to repay the 
bonds." Proponents challenge the meaning of language on a point which 
they have in their substitute ballot. The Attorney General's language explains 
the effect of the proposition, and under current law, is factually correct. This 
objection is without merit.
¶59 If the Attorney General's text for the ballot title is not "clearly 
contrary" to the command of statutory law, then his ballot title is accepted and 
the Court need not examine Petitioners' substitute ballot. A ballot title must 
reflect the character and purpose of the measure and it must not be deceptive or 
misleading, and it must also be free from uncertainty and ambiguity.62 We have 
stated that: "The test is whether the title is couched in such a way that voters 
are afforded an opportunity to fairly express their will, and whether the 
question is sufficiently definite to apprise voters with substantial accuracy 
what they are asked to approve."63
¶60 Nothing in Proponents' arguments show where the Attorney General's ballot 
title fails to state the legal effect of the proposed measure under current law. 
Further, we conclude that the Attorney General's proposed ballot title fulfills 
the requirements of 34 O.S.2001 § 
9, because it accurately reflects the effects of the proposed amendment to 
the State Constitution by informing the electorate concerning the principle 
thrust of the proposition; i.e., to fund the construction of storm 
shelters by using franchise tax revenues, bonds, and other resources within the 
discretion of the Legislature.
IV. Request for Time to Collect Signatures 

  
    Proponents request additional time to collect signatures, or in the 
    alternative a new ninety-day period to collect 
signatures.
¶61 In their Supplemental Brief, Proponents cite 34 O.S. § 8(E) and request an 
additional ninety (90) days to collect signatures, and they make a more 
developed argument in their Reply Brief where they rely upon In re Initiative 
Petition No. 315, State Question No. 553, 1982 OK 15, 649 P.2d 545, 553 and 34 O.S. § 9 (D) and a former version 
of 34 O.S. § 8.
¶62 In re Initiative Petition No. 315, supra, states that "The 
90-day period for circulation does not begin until the proposed title has been 
reviewed by the Attorney General, the 10-day appeal period has expired, and any 
appeals timely filed, exhausted." 649 P.2d at 553. The Attorney General argues 
that: (1) When In re Initiative Petition No. 315, State Question No. 553, 
supra, was decided the ballot title was part of the petition that 
was submitted to the Attorney General, (2) The ballot title is no longer part 
of the petition submitted to the Attorney General, and (3) The language in 
In re Initiative Petition No. 315, is no longer good law on this 
point.
¶63 The Attorney General's argument may be summarized as stating that the 
correctness of a ballot title need not be settled prior to collection of 
signatures because (1) the ballot title is not part of the petition when it is 
submitted to the Attorney General, (2) §§ 9 &amp; 10 do not expressly delay 
collecting signatures until after a ballot title appeal has been settled, and 
(3) the petition and the gist of the measure on the signature page sufficiently 
inform the voters of the proposed measure.
¶64 Three bodies of text must be identified: (1) the petition, (2) the gist 
of the petition which appears on a signature page, and (3) the ballot title, 
which may, or may not be part of the petition for certain purposes (as we hold 
today). We have explained that both the gist and the ballot title work together 
to prevent fraud in the initiative process.64 A petition has "an exact copy of 
the title and text of the measure inserted."65 The petition and signature sheets 
together make a pamphlet, and each signature sheet is attached to a copy of the 
petition and has a gist of the measure on each signature page.66 If "the title" referred 
to in § 2 that is to be included as part of the circulated petition is not the 
correct "ballot title," and the correct ballot title need not be included on the 
circulated petition pamphlet, as indicated by the Attorney General, then one 
purpose of a ballot title in limiting fraud, deceit, and corruption in the 
initiative process would be severely limited.
¶65 The Attorney General correctly observes that the ballot title is treated 
as separate from the initiative petition in 34 O.S. § 9. The ballot title is 
also treated as part of the petition in 34 O.S. § 2. Giving effect to both 
of these provisions means that the ballot title is not part of the petition for 
the purpose of a ballot title appeal, but a ballot title is part of the 
initiative petition in 34 O.S. § 
2, and thus part of the petition that is duplicated for securing signatures 
in 34 O.S. § 3.
¶66 Section 9(D)(1) clearly provides for filing the ballot title with the 
Secretary of State prior to collecting signatures. If an appeal is taken from 
the ballot title, then the Secretary of State certifies to the Secretary of the 
State Election Board the ballot title that is "finally approved by the Supreme 
Court." 34 O.S. § 9(D)(2).
¶67 Section 8(E) provides in part that:

  
    E. Within ninety (90) days after such filing of an initiative petition or 
    determination of the sufficiency of the petition by the Supreme Court 
    as provided in this section, whichever is later, the signed copies 
    thereof shall be filed with the Secretary of State, . . . 
.
34 O.S.2011 § 8(E), in part, 
emphasis added.
Proponents argue that "sufficiency of the petition" should include 
determination of a proper ballot title. While we agree that § 8(E) applies to a 
ballot title appeal and that the 90-day period to collect signatures commences 
after the ballot title appeal, our reasons are not those of Proponents.
¶68 The Attorney General is correct that the statutory scheme distinguishes a 
protest challenging the sufficiency of a petition from a protest (or appeal) of 
the ballot title, and this distinction is expressly made in § 8(B) where the 
separate authority for an appeal of the ballot title in § 10 is noted.67

  
    . . . notice [shall include] that any citizen or citizens of the state 
    may file a protest as to the constitutionality of the petition, by a 
    written notice to the Supreme Court and to the proponent or proponents 
    filing the petition, or as to the ballot title as provided by Section 10 
    of this title. . . .
34 O.S.2011 § 8(B), in part, 
and emphasis added.
The Attorney General also argues that a "petition" does not include the 
ballot title, because a "ballot title" is submitted on a separate piece of paper 
"and shall not be deemed part of the petition." 34 O.S.2011 § 9(B).68 Two responses to this 
argument by the Attorney General are necessary. First, even with a statutory 
distinction between appeals on a ballot title and appeals on the legal 
sufficiency of a petition, one statute for a ballot title appeal states 
that the procedures which are part of a 34 O.S. § 8 appeal on a petition are 
also applicable to a ballot title appeal.

  
    Notice of the appeal provided for in the preceding section shall be 
    served upon the Attorney General and upon the party who filed such ballot 
    title, or on any of such parties, at least five (5) days before such appeal 
    is heard by the court. The Attorney General shall, and any citizen 
    interested may, defend the ballot title from which the appeal is taken. 
    Other procedure upon such appeals shall be the same as is prescribed for 
    appeals from petitions filed as set forth in Section 8 of this 
  title.
34 O.S.2011 § 11, emphasis 
added.
The procedure in § 8(E)69 states that signatures will not be collected until 
after a protest to a petition is finally determined. There is no express 
provision in the ballot title statutes for the ninety-day signature collection 
period as occurring either during or after a ballot title appeal. We thus hold 
that § 8(E) procedure for collecting signatures in a ninety-day period at the 
conclusion of a protest to a petition is also applicable to a ballot title 
appeal.
¶69 We also note that the Attorney General correctly identifies three types 
of legal proceedings involving initiative petitions: (1) protest to the 
constitutionality of the petition [§ 8 (B) proceeding], (2) protest to the 
ballot title [§§ 8(B) &amp; 10 proceeding], and (3) an objection to the 
signature count [§ 8(H) proceeding]. The approach to these proceedings taken by 
the Attorney General would result in different times to commence collecting 
signatures based upon whether a protest to a petition was combined with a ballot 
title protest. According to the Attorney General, if only a ballot title protest 
is filed, then the 90-day period is not stayed pending resolution of the ballot 
title appeal. On the other hand, if a protest to the petition is combined with a 
ballot title protest, then the 90-day period does not commence until the protest 
to the petition is determined, which may or may not be the same date the Court 
decides the ballot title appeal; but in any event the date of any judicial 
decision(s) for commencing the ninety-day period would be different than for a 
ballot title. The last sentence of 34 
O.S. § 11 requires more uniformity in procedure than that suggested by the 
Attorney General. The second response we have to the argument by the Attorney 
General is that the ballot title, that is the correct ballot title, must be part 
of the petition which in turn is part of the circulated pamphlet.70 A correct 
ballot title on the face of the initiative petition which is used during 
collection of signatures helps to prevent fraud and deceit in the initiative 
process.
¶70 A proponent has ninety days to collect signatures and file them with the 
Secretary of State. 34 O.S. § 
8(E), and 34 O.S.2011 § 4.71 The 
Attorney General is correct that a proponent gets only one 90-day period 
to collect signatures. Because of 34 
O.S. §§ 2, 3, 8(E) and 11, the ninety-day period commences or 
begins for Proponents herein in accordance with our holding in In re 
Initiative Petition No. 315, supra, where we stated that when a 
ballot title appeal has occurred the time to collect signatures does not 
begin until completion of that appeal. Id. 649 P.2d at 553.
V. Conclusion and Rehearing
¶71 We hold that: 1. A proponent of an initiative petition must file 
or submit a copy of the initiative petition and a copy of the ballot title to 
the Attorney General when the proponent files the initiative petition and ballot 
title with the Secretary of State, 34 
O.S. § 9 (A) &amp; (B); 2. The Attorney General must file a response to a 
ballot title within five business days from the date the ballot title is filed 
with the Secretary of State, 34 O.S. 
§ 9 (D); 3. The Attorney General's § 9(D) response to a ballot title is 
statutorily effective although the Attorney General's response was filed two 
days late; 4. A proponent of an initiative who challenges a ballot title 
prepared by the Attorney General has the burden to show that the Attorney 
General's ballot title is legally incorrect, or is not impartial, or fails to 
accurately reflect the effects of the proposed initiative; 5. The Attorney 
General's ballot title challenged in this proceeding is legally correct, 
impartial, and accurately reflects the effects of the proposed initiative; 6. 
When a ballot title appeal has been made, a proponent's ninety-day period of 
time to collect signatures commences when the ballot title appeal is final.
¶72 Should any party file a petition for rehearing, it must be filed within 
five business days from the date this opinion is filed with the Clerk of this 
Court.72 
The first day of this five-day period is the first business day occurring 
immediately after this opinion is filed with the Clerk. Any party may file a 
response to a petition for rehearing and a response to a petition for rehearing 
may be filed within eight (8) business days after the date this opinion is filed 
with the clerk of this Court. The time limits to file a petition for 
rehearing and response shall not be extended. If no petition for rehearing 
is filed within five business days from the date this opinion is filed with the 
Clerk of this Court, then the opinion shall be final on the sixth business day 
after the opinion is filed with the Clerk. If any rehearing petition is timely 
filed within the five-day period, then the opinion shall not become final until 
all requests for rehearing are adjudicated.

¶73 CONCUR: REIF, V.C.J., KAUGER, WATT, WINCHESTER, EDMONDSON, TAYLOR, COMBS, 
GURICH, JJ.
¶74 NOT VOTING: COLBERT, C. J.

FOOTNOTES

1 W. 
R. Allison Enters., Inc. v. CompSource Okla., 2013 OK 24, ¶ 15, 301 P.3d 407, 411. The plain 
meaning of a statute's language is conclusive except in the rare case when 
literal construction produces a result demonstrably at odds with legislative 
intent. Head v. McCracken, 2004 OK 84, ¶ 13, 102 P.3d 670, 680.

2 
State ex rel. Bd. of Regents of Univ. of Oklahoma v. Lucas, 2013 OK 14, ¶ 15, 297 P.3d 378, 387 ("If wording in a 
statute is plain, clear and unambiguous then the plain meaning of the words used 
must be judicially accepted as expressing the intent of the Legislature, and 
there exists no reason or justification to use interpretive devices or rules of 
construction to determine meaning."); Cline v. Oklahoma Coalition for 
Reproductive Justice, 2013 OK 
93, ¶ 14, 313 P.3d 253, 
258-259 (to determine the meaning of legislation we look to the plain language 
of the statute because the Legislature is presumed to have expressed its intent 
in the text of the statute; and only when the legislative intent cannot be 
ascertained from the statutory language in cases of ambiguity or conflict do we 
utilize rules of statutory construction); Rogers v. Quicktrip Corp., 2010 OK 3, ¶ 11, 230 P.3d 853, 859 ("If a statute is 
plain and unambiguous, it will not be subjected to judicial construction but 
will receive the interpretation and effect its language dictates.").

3 In 
the Matter of J.L.M., 2005 OK 
15, ¶ 5, 109 P.3d 336, 
338.

4 
Colclasure v. Colclasure, 2012 OK 97, ¶ 10, 295 P.3d 1123, 1135 ("The courts 
decide, as a matter of law, whether a contract provision is 
ambiguous.").

5 In the 
context of construing a statute we stated that whether language is ambiguous is 
a question of law, and we relied upon a similar statement applied to an 
insurance policy and the application of contract law. YDF, Inc. v. Schlumar, 
Inc., 2006 OK 32, ¶ 6, 136 P.3d 656, 658, citing 
American Economy Ins. Co. v. Bogdahn, 2004 OK 9 ¶ 11, 89 P.3d 1051, 1054.
One reason YDF, Inc., supra, is correct is that a court's 
interpretation of statutory law presents a question of law. Troxell v. Okla. 
Dept. of Human Services, 2013 OK 
100, ¶ 4, 318 P.2d 206. See Hogg v. Okla. Cnty. Juvenile Bureau, 2012 OK 107, ¶ 7, 292 P.3d 29, 33 (" Ascertaining the 
meaning of statutory language is a pure issue of law."); In re De-Annexation 
of Certain Real Property from City of Seminole, 2004 OK 60, ¶ 18, 102 P.3d 120, 129 ("Statutory 
construction presents a question of law."). An interpretation of ambiguity 
solely from the statutory language is thus an interpretation of statutory law 
and presents an issue of law.

6 In a 
general sense, a court's adjudication of "reasonableness" may present an issue 
of fact, or an issue of law, or a mixed question of law and fact, depending upon 
how the concept of "reasonable" or "reasonableness" is applied for the type of 
adjudication at issue. See, e.g., Franco-American Charolaise, 
Ltd. v. Okla. Water Resources Bd., 1990 OK 44, 855 P.2d 568, 574-575 (discussion of 
the reasonableness of water use by a riparian owner and the conclusion that the 
issue was for a jury); Barringer v. Baptist Healthcare of Oklahoma, 2001 OK 29, ¶¶ 6, 26, 22 P.3d 695, 697, 701 (an example 
of determinations of "reasonableness" in the context of summary judgment review, 
and whether one, or more than one reasonable interpretation of undisputed facts 
is present). In this original jurisdiction matter we are asked to adjudicate the 
meaning of statutory language and not the existence of extrinsic 
facts.

7 
United Airlines, Inc. v. State Bd. of Equalization, 1990 OK 29, 789 P.2d 1305, 1311-1312.

8 
United Airlines, Inc. v. State Bd. of Equalization, 1990 OK 29, 789 P.2d at 
1311-1312.

9 
Austin, Nichols &amp; Co. v. Okla. Cnty. Bd. of Tax-Roll Corrections, 1978 OK 65, 578 P.2d 1200, 1203.

10 
Okla. Public Employees Ass'n v. State ex rel. Okla. Office of Personnel 
Management, 2011 OK 68, ¶ 
24, 267 P.3d 838, 847.

11 The 
Court takes judicial notice of promulgated state agency rules. Lone Star 
Helicopters, Inc., v. State, 1990 
OK 111, 800 P.2d 235, 237 
(citing 75 O.S. § 252, which now 
states, in part, that " All courts, boards, commissions, agencies, authorities, 
instrumentalities, and officers of the State of Oklahoma shall take judicial or 
official notice of any rule, amendment, revision, or revocation of an existing 
rule promulgated pursuant to the provisions of the Administrative Procedures 
Act.").

12 The 
record of facts before us fails to show a consistent and continual 
construction of the statute in a public manner by the Attorney General that is 
consistent with the Attorney General's argument. Generally, argument of counsel 
is not a form of evidence. In re Guardianship of Stanfield, 2012 OK 8, n. 55, 276 P.3d 989, 1002 (unsworn 
statements by counsel do not constitute evidence); Willis v. Sequoyah House, 
Inc., 2008 OK 87, ¶¶ 12-13, 
194 P.3d 1285, 1289-1290 (same). 
Also generally, proof consists in forms of testimony, deposition, affidavit, and 
other "acceptable evidentiary substitutes." Willis, 2008 OK 87, at n. 14. A ballot 
title appeal is prosecuted in this Court in the form of an original jurisdiction 
proceeding where the parties submit proof in support of their legal arguments, 
and they do not rely upon a record transmitted from a lower tribunal. While the 
Attorney General may have consistently and continually construed the statute as 
counsel states, proof of such a construction by the Attorney General is absent 
from the record before us.

13 We 
have explained, "Administrative construction cannot override the plain language 
of a statute. Where a statute is neither ambiguous nor of doubtful meaning, the 
rule that weight is to be given to an agency construction in determining the 
effect of the statute will not be applied." Bradshaw v. Oklahoma State 
Election Bd., 2004 OK 69, ¶ 
6, 98 P.3d 1092, 1094.

14 The 
construction of an ambiguous and uncertain statute by a state agency must also 
be reasonable for a court to give the construction deference and great weight. 
Oral Roberts Univ. v. Okla. Tax Comm'n, 1985 OK 97, 714 P.2d 1013, 1015. See 
Independent Finance Institute v. Clark, 1999 OK 43, ¶ 13, 990 P.2d 845, 851 (deference given 
to the construction of a statute made by an agency charged with its enforcement 
is a rule of construction for ambiguous statutory language, and the deference is 
based upon an agency construction that is reasonable and not clearly 
wrong).

15 In 
R. R. Tway, Inc. v. Oklahoma Tax Comm'n, 1995 OK 129, n. 3, 910 P.2d 972, 976, we declined to 
give judicial deference to an agency's construction of a state statute. We 
observed that there was no evidence in the record showing the agency's 
consistent and continual construction of the statute by a published agency rule, 
or that the agency had construed the statute in some other manner that would 
give notice to the Legislature of the agency's actions.

16 34 
O.S.Supp.1993 (D) (1) stated that:
"Within five (5) business days after the filing of such copy and ballot title 
with the Attorney General, he shall, in writing, notify the Secretary of State 
whether or nor not the proposed ballot title is in legal form and harmony with 
the law. If the proposed ballot title is in harmony with the law the Attorney 
General shall so certify to the Secretary of State. Should such ballot title not 
be in proper form, in the opinion of the Attorney General, it shall be his duty, 
within ten (10) business days of determining that th proposed ballot title is 
not in proper form, to prepare and file a ballot title which does conform to the 
law; and"

17 
Laws 1994, c. § 147, § 3, amending 34 O. S. Supp.1993 § 9, eff. May 3, 
1994.

18 
Laws 1994, c. § 147, § 3, amending 34 O. S. Supp.1993 § 9, eff. May 3, 1994, 
emphasis added.

19 
Although doubt as to the meaning of a statute may be resolved by reference to 
its enacted history, Independent Finance Institute v. Clark, 1999 OK 43, ¶ 14, 990 P.2d at 851, 
our observation on the legislative history is not for the purpose of resolving 
doubt of concerning ambiguous language, but for the purpose of showing that the 
language which altered the time for calculating the Attorney General's duty to 
file a response to a ballot title is a plain and ordinary reading of the 
language and that the Attorney General's construction is not a reasonable 
alternative.

20 
Berryman v. Bonaparte, 1932 OK 
141, 11 P.2d 164, 167-168 ("A 
mere presumption of law applies only in the absence of evidence as to the fact, 
and flies out of the case upon the production of any evidence, but the 
presumption that public officials perform their duties casts the burden of proof 
upon the issue. We call attention to these matters in order that the learned 
counsel may not in the future become confused relative to general legal 
presumptions and the presumptions of law relative to public officials."). See 
also, State ex rel. Okla. Corp. Com'n v. McPherson, 2010 OK 31, ¶ 28, 232 P.3d 458, 465 ("But because of 
the presumption that officials will take proper actions subsequent to a demand 
letter, the taxpayer's [qui tam] interest does not come into being until 
the taxpayer shows that officials failed to take the proper actions after 
receiving the demand letter."); State ex rel. Haning v. Department of Public 
Welfare, 1952 OK 229, 245 P.2d 452, 455 ("The rule is well 
settled in this jurisdiction that in considering an action in mandamus against 
such public officials this court may exercise its judicial discretion in 
granting or denying the writ, and may in a proper case withhold the writ in 
anticipation of good faith performance of the declared statutory 
duty.").

21 25 Ohio St. 2011 § 23:
"The word 'year' means a calendar year, and 'month,' a calendar month. 
Fractions of a year are to be computed by the number of months, thus: half a 
year is six (6) months. Fractions of a day are to be disregarded in computations 
which include more than one (1) day, and involve no question of 
priority."

22 25 O.S. Supp. 2012 § 82.1 states in 
part:
"A. The designation and dates of holidays in Oklahoma shall be as follows: 
Each Saturday, Sunday, New Year's Day on the 1st day of January, Martin Luther 
King, Jr.'s Birthday on the third Monday in January, . . . ."
"C. Any act authorized, required, or permitted to be performed on a holiday 
as designated in subsection A of this section may be performed on the next 
succeeding business day, and no liability or loss of rights of any kind shall 
result from such delay. . . . "

23 34 O.S.2001 § 9(D)(1) states in 
part:
After the filing of the petition and prior to the gathering of signatures 
thereon, the Secretary of State shall submit the proposed ballot title to the 
Attorney General for review as to legal correctness. Within five (5) business 
days after the filing of the measure and ballot title, the Attorney General 
shall, in writing, notify the Secretary of State whether or not the proposed 
ballot title complies with applicable laws.

24 34 O.S. § 9(D)(1) states in part: 
"The Attorney General shall state with specificity any and all defects found 
and, if necessary, within ten (10) business days of determining that the 
proposed ballot title is defective, prepare and file a ballot title which 
complies with the law; . . . ."

25 The 
argument made by Proponents has some similarities to one we rejected in State 
ex rel. Oklahoma Bar Ass'n v. Mothershed, 2011 OK 84, 264 P.3d 1197. In Mothershed 
a party argued that failure to follow the "shall" language requiring an act of a 
public official/public body within a certain time divested that public body of 
jurisdiction to act. In the present case, Proponents argue that a public 
official's failure to observe a statutory time requirement has divested that 
official of jurisdiction to act. We explained in Mothershed that there 
was no legislative intent to create a jurisdictional time limit in a particular 
rule for Bar disciplinary procedure (at ¶ 62, 264 P.3d at 1221), and herein we 
similarly note that there is no legislative language or intent indicated by the 
plain language in 34 O.S. § 9 to 
remove the Attorney General from the ballot title procedure by an untimely 
filing made by the Attorney General.

26 We 
note that School District No. 61, Payne County, supra, is 
consistent with Castro v. Keyes, 1992 OK 92, 836 P.2d 1275, where parties argued 
that a county board of equalization lacked jurisdiction to adjudicate a timely 
filed taxpayer protest when the adjudication came after the statutory date for 
adjournment for the board. This Court rejected that argument and we reaffirmed 
the holding of Castro in both George L. Verity Management Development 
Corp. v. Keyes, 1992 OK 93, 
836 P.2d 1279, and Oklahoma 
City Golf and Country Club v. Keyes, 1992 OK 94, 836 P.2d 1282. See Larry Jones 
Intern. Ministries, Inc. v. Means, 1997 OK 125, ¶ 7, 946 P.2d 669, 671.

27 
State ex rel. Oklahoma Bar Ass'n v. Mothershed, 2011 OK 84, ¶ 54, &amp; nn. 59-63, 
&amp; ¶ 62, 264 P.3d 1197, 1217, 
1221. See also Baugh v. Little, 1929 OK 383, 282 P. 459, 460 ("It is well 
established, as a general rule, that jurisdiction once acquired is not defeated 
by subsequent events, . . . .").

28 The 
nature of this time limit in 34 
O.S.2001 §4 and whether it is mandatory is not before us in the present 
controversy. It is noted merely to show an example of the Legislature 
restricting a filing after a certain date.

29 
See, e.g., McCathern v. City of Oklahoma City, 2004 61, ¶ 
17, 95 P.3d 1090, 1097 ("We will 
not abridge governmental tort responsibility by legislative text that is 
ambiguous or silent."); Satellite Sys., Inc. v. Birch Telecom of Oklahoma, 
Inc., 2002 OK 61, ¶ 7, 51 P.3d 585, 588 (A legislative 
intention to abolish a common law right must be clearly and plainly expressed 
and there is a presumption that favors preservation of common-law 
rights).

30 
Matter of Estate of Speake, 1987 OK 61, 743 P.2d 648, 652.

31 
In re Initiative Petition No. 315, State Question No. 553, 1982 OK 15, 649 P.2d 545, 553 ("when questions of 
a general public nature are involved, which affect the state at large, the 
people of the state become indirect parties and their interests must be 
protected to prevent a possible 'practical injustice' even if the person who 
might have objected is silent."); State ex rel. Freeling v. Lyon, 1917 OK 229, 165 P. 419, 420 (A matter that 
affects the rights of the citizens of the State is publici juris.); 
Ethics Commission v. Cullison, 1993 OK 37, 850 P.2d 1069, 1073 (An 
adjective-law barrier in a private-law original jurisdiction action will not 
hinder the court from giving adequate relief in an original jurisdiction 
proceeding that is publici juris.).

32 
When the parties' briefs present a publici juris issue and no additional 
facts are necessary for its adjudication, the Court possesses the judicial 
discretion to determine an issue of law presented by those briefs. State v. 
Torres, 2004 OK 12, ¶ 7, 87 P.3d 572, 578; City of Enid 
v. Public Employees Relations Bd., 2006 OK 16, ¶ 30 133 P.3d 281,299-300 (Edmondson, 
J., Concurring).

33 
Terry v. Bishop, 2007 OK 
29, ¶ 9, 158 P.3d 1067, 
1070-1071.

34 
Okla. Const. Art. 5 § 1:
"The Legislative authority of the State shall be vested in a Legislature, 
consisting of a Senate and a House of Representatives; but the people reserve to 
themselves the power to propose laws and amendments to the Constitution and to 
enact or reject the same at the polls independent of the Legislature, and also 
reserve power at their own option to approve or reject at the polls any act of 
the Legislature."

35 
In re Initiative Petition No. 384, State Question No. 731, 2007 OK 48, ¶ 2, 164 P.3d 125, 126.

36 
Okla. Const. Art. 5 § 3 states in part: "The Legislature shall make suitable 
provisions for carrying into effect the provisions of this article."

37 
In re Initiative Petition No. 379, State Question No. 726, 2006 OK 89, ¶ 17,155 P.3d 32, 40.

38 
Gulfstream Petroleum Corp. v. Layden, 1981 OK 56, 632 P.2d 376, 379 (principle applied 
to whether entry of a spacing order was a mere procedural step or a mandatory 
jurisdictional step in the process of entering a pooling order).

39 
U.C. Leasing, Inc. v. State ex rel. State Bd. of Public Affairs, 1987 OK 43, 737 P.2d 1191, 1196.

40 
Chandler U.S.A., Inc. v. Tyree, 2004 OK 16, ¶ 24, 87 P.3d 598, 604 ("A typical case 
for mandamus has five elements: (1) The party seeking the writ has no plain and 
adequate remedy in the ordinary course of the law, (2) The party seeking the 
writ possesses a clear legal right to the relief sought, (3) The respondent 
(defendant) has a plain legal duty regarding the relief sought, (4) The 
respondent has refused to perform that duty, and (5) The respondent's duty does 
not involve the exercise of discretion."); In the Matter of B.C., 1988 OK 4, 749 P.2d 542, 544 (Mandamus will not 
usually control the substantive content of an official's decision within the 
discretion of that official in the performance of a duty. But when the duty 
requires an exercise of discretion and the official has not performed, mandamus 
will issue to require the official to actually exercise the required 
discretionary act.).

41 34 O.S.2011 § 24: "The procedure 
herein prescribed is not mandatory, but if substantially followed will be 
sufficient. If the end aimed at can be attained and procedure shall be 
sustained, clerical and mere technical errors shall be disregarded."

42 
Cf. City of Tulsa v. Whittenhall, 1929 OK 122, 282 P. 322 (notice of claim filed on 
thirty-first day was in substantial compliance with requirement for notice 
within thirty days because plaintiff was unable to provide notice within the 
thirty-day period).

43 See 
the discussion and application of a substantial compliance standard in 
Henderson v. Maley, 1991 OK 
8, 806 P.2d 626, as to both 
(1) the issues in that controversy and (2) the standard applied in a prohibition 
proceeding, Looney v. County Election Board of Seminole County, 1930 OK 461, 293 P. 1056. Henderson, 806 
P.2d at 630, 632.

44 
In re Initiative Petition No. 363, State Question No. 672, 1996 OK 122, 927 P.2d 558, 567 (The terms of § 3 
require that the petition contain a simple statement of the gist of the 
proposition, which is in contrast to § 9 which provides that the ballot title, 
in no more than 150 words, explain the effect of the proposition: "The purpose 
of these two statutes is to prevent fraud, deceit or corruption in the 
initiative process.").

45 34 O.S.2011 § 11 quoted infra 
at ¶ 37.

46 See 
34 O.S.2011 § 10 (A) quoted 
infra at ¶ 37.

47 See 
34 O.S.2011 § 11 quoted 
infra at ¶ 37.

48 
Oklahoma Supreme Court Rule 1.194:
" Proceedings to protest or to object to initiative and referendum 
petitions.
Proceedings in the Supreme Court to determine protests or objections to 
initiative and referendum petitions shall be commenced and proceed in accordance 
with the procedures set out in 34 
O.S. § 8.
The proceeding shall be treated as an original action and the parties shall 
be afforded a trial de novo. In re Initiative Petition 281, State Ques. No. 
441, 1967 OK 230, 434 P.2d 941. If factual issues are 
raised, the Court may assign the matter to a referee.
The Court may issue directions when the procedure is not set out in 34 O.S. § 8, in this Rule, or in 
Part VI of these Rules."

49 34 O.S.2011 § 11, states in part 
that:" . . . Other procedure upon such appeals shall be the same as is 
prescribed for appeals from petitions filed as set forth in Section 8 of this 
title."

50 
Tyler v. Shelter Mut. Ins. Co., 2008 OK 9, ¶ 1, 184 P.3d 496. See also 
Taylor v. State Farm Fire and Cas. Co., 1999 OK 44, ¶ 19, 981 P.2d 1253, 1261 (All legislative 
enactments in pari materia are to be interpreted together as forming a 
single body of law that will fit into a coherent symmetry of 
legislation.).

51 
State of Oklahoma, ex rel. State Insurance Fund v. Great Plains Center, 
Inc., 2003 OK 79, ¶ 29, 78 P.3d 83, 92. See Colton v. 
Huntleigh USA Corp., 2005 OK 
46, ¶ 10, 121 P.3d 1070, 
1073 (The burden to show any particular fact or claim rests upon the party 
asserting such fact or claim as part of that party's action or defense). The 
phrase "burden of proof" is often used to refer to both (1) a burden of 
persuasion (which is a duty or obligation of establishing in the mind of the 
trier of fact a conviction on the ultimate issue), and (2) a burden to produce 
evidence in support of a party's claim or an affirmative defense. Director, 
OWCP v. Greenwich Collieries, 512 U.S. 267, 272-275, 114 S. Ct. 2251, 129 
L. Ed. 2d 221 (1994); Johnson v. Board of Governors of Registered Dentists of 
the State of Okla., 1996 OK 
41, n. 3, 913 P.2d 1339, 1350 
(Opala, J., with Kauger, V.C.J. Concurring).

52 
Oklahoma Supreme Court Rule 1.194, note 48, supra.

53 
Powers v. District Court of Tulsa County, 2009 OK 91, n. 23, 227 P.3d 1060, 1070.

54 
S. W. v. Duncan, 2001 OK 
39, ¶ 31, 24 P.3d 846, 857 
(in an original jurisdiction proceeding need not consider a claim that is 
unsupported by convincing argument or authority unless the claim is facially 
apparent without the need for legal research). See also In re Initiative 
Petition No. 249, State Question 349, 1950 OK 238, 222 P.2d 1032, 1034 (pursuant to 34 O.S.1941 § 8 in an initiative 
petition appeal the hearing in this Court is a trial de novo in which the 
burden rests upon the protestant to establish that party's various 
contentions).

55 
In re Initiative Petition No. 363, State Question 672, 1996 OK 122, 927 P.2d 558, 571.

56 
In re Initiative Petition No. 347, State Question No. 639, 1991 OK 55, 813 P.2d 1019, 1032.

57 
In re Initiative Petition No. 360, State Question No. 662, 1994 OK 97, 879 P.2d 810, 820.

58 
In re Initiative Petition No. 360, 1994 OK 97, 879 P.2d at 
819.

59 
In re Initiative Petition No. 363, 1996 OK 122, 927 P.2d at 
569.

60 68 O.S.2011 § 1203, states in part 
that: "There is hereby levied and assessed a franchise or excise tax upon every 
corporation, association, joint-stock company and business trust organized under 
the laws of this state . . . ."
68 O.2011 § 1208 (A) &amp; (B):
"A. It is hereby declared to be the purpose of Section 1201 et seq. of this 
title to provide for revenue for general governmental functions of the State of 
Oklahoma.
B. All monies collected under Section 1201 et seq. of this title shall be 
transmitted monthly to the State Treasurer of the State of Oklahoma to be placed 
to the credit of the General Revenue Fund of the state, to be paid out only 
pursuant to direct appropriations of the Legislature."

61 
See, e.g., Okla. Const. Art. 10 § 23:
"To ensure a balanced annual budget, pursuant to the limitations contained in 
the foregoing, procedures are herewith established as follows:
1. Not more than forty-five (45) days or less than thirty-five (35) days 
prior to the convening of each regular session of the Legislature, the State 
Board of Equalization shall certify the total amount of revenue which accrued 
during the last preceding fiscal year to the General Revenue Fund and to each 
Special Revenue Fund appropriated directly by the Legislature, and shall further 
certify amounts available for appropriation . . . .
4. Surplus funds or monies shall be any amount accruing to the General 
Revenue Fund of the State of Oklahoma over and above the itemized estimate made 
by the State Board of Equalization. . . ."

62 
In re Initiative Petition No. 360, State Question No. 662, 1994 OK 97, 879 P.2d 810, 818.

63 
In re Initiative Petition No. 360, 1994 OK 97, 879 P.2d at 
818.

64 
In re Initiative Petition No. 363, State Question No. 672, 1996 OK 122, 927 P.2d 558, 567 (The terms of § 3 
require that the petition contain a simple statement of the gist of the 
proposition, which is in contrast to § 9 which provides that the ballot title, 
in no more than 150 words, explain the effect of the proposition: "The purpose 
of these two statutes is to prevent fraud, deceit or corruption in the 
initiative process.") (emphasis added).

65 34 O.S.2011 § 2 states in part that: 
"The question we herewith submit to our fellow voters is: Shall the following 
bill (or proposed amendment to the Constitution or resolution) be approved? 
(Insert here an exact copy of the title and text of the measure.)"

66 34 O.S.2011 § 3 (emphasis 
added):
"Each initiative petition and each referendum petition shall be 
duplicated for the securing of signatures, and each sheet for signatures 
shall be attached to a copy of the petition. Each copy of the petition 
and sheets for signatures is hereinafter termed a pamphlet. On the outer 
page of each pamphlet shall be printed the word "Warning", and underneath this 
in ten-point type the words, "It is a felony for anyone to sign an initiative or 
referendum petition with any name other than his own, or knowingly to sign his 
name more than once for the measure, or to sign such petition when he is not a 
legal voter". A simple statement of the gist of the proposition shall be 
printed on the top margin of each signature sheet. Not more than twenty (20) 
signatures on one sheet on lines provided for the signatures shall be counted. 
Any signature sheet not in substantial compliance with this act shall be 
disqualified by the Secretary of State."

67 34 O.S.2011 § 10 (A):
"A. Any person who is dissatisfied with the wording of a ballot title may, 
within ten (10) days after the same is published by the Secretary of State as 
provided for in subsection B of Section 8 of this title, appeal to the Supreme 
Court by petition in which shall be offered a substitute ballot title for the 
one from which the appeal is taken. Upon the hearing of such appeal, the court 
may correct or amend the ballot title before the court, or accept the substitute 
suggested, or may draft a new one which will conform to the provisions of 
Section 9 of this title."

68 34 O.S.2011 § 9(B) states in the 
first sentence of the paragraph: "The parties submitting the measure shall also 
submit a suggested ballot title which shall be filed on a separate sheet of 
paper and shall not be deemed part of the petition."

69 34 O.S.2001 § 8 (E) states in 
part:
"Within ninety (90) days after such filing of an initiative petition or 
determination of the sufficiency of the petition by the Supreme Court as 
provided in this section, whichever is later, the signed copies thereof shall be 
filed withe the Secretary of State . . . ."

70 34 O.S.2011 §§ 2, 3 supra, at 
notes 65 and 66.

71 
Additional signature sheets "shall not be accepted [by the Secretary of State] 
after 5:00 p.m. on the ninetieth day." 34 O.S.2011 § 4, explanatory phrase 
added.

72 
This Court may set the time for a party to file a petition for rehearing. 
Fent v. Henry, 2011 OK 
10, ¶ 23, 257 P.3d 984, 
995.
ORDER DENYING REHEARING
¶1 Petitioners seek rehearing in this matter "as it relates to the ninety 
(90) day issue" for collecting signatures for the initiative petition. 
Petitioners ask the Court "to allow all signatures [previously] collected by 
registered voters to be used for the new ninety (90) day period." Petitioners 
urge "the Court to grandfather the signatures into the new ninety (90) day 
period as a matter of equity, fairness and justice to the some one hundred 
thousand (100,000) citizens and registered voters." In support, petitioners 
argue: 1) the law was unclear and unsettled, 2) the Attorney General contended 
that the ninety-day period for collecting signatures ran during the ballot title 
appeal which placed petitioners in a "catch twenty-two" position either to let 
the time run or to collect invalid signatures if the ninety-day period begins 
after the ballot title appeal, and 3) the initiative effort substantially 
complied with the law.
¶2 Our opinion agreed with petitioners' argument that the law was unclear in 
that the ballot title statutes do not expressly provide "for the ninety-day 
signature collection period as occurring either during or after a ballot title 
appeal." In Re: Initiative Petition No. 397, State Question No. 767, 2014 OK 23, ¶ 68. As petitioners 
urged, we clearly pronounced "that § 8(E) procedure for collecting signatures in 
a ninety-day period at the conclusion of a protest to a petition is also 
applicable to a ballot title appeal." Id. Also as petitioners requested, 
we clearly pronounced that petitioners' statutory ninety-day period to collect 
signatures begins when the ballot title appeal is completed in accordance with 
In re Initiative Petition No. 315, State Question No. 553, 1982 OK 15, 649 P.2d 545. In Re: Initiative 
Petition No. 397, State Question No. 767, 2014 OK 23 at ¶¶61 and 70.
¶3 On rehearing petitioners argue that the more than 100,000 signatures they 
collected before and during the ballot title appeal were collected in 
substantial compliance with the law. However, the collection of signatures 
before the ballot title appeal was final did not substantially comply with our 
1982 opinion in In re Initiative Petition No. 315, State Question No. 
553,1982 OK 15 at ¶¶24-25, 649 
P.2d at 552-553.
¶4 Petitioners also argue the precepts of equity, fairness, and justice due 
the 100,000 voters who already signed the initiative petition require these 
signatures be added to the signatures petitioners will collect during the 
post-appeal ninety-day period. Equity, fairness, and justice will not breathe 
life into initiative petitions where the signatures are collected contrary to 
the confines of the governing law. In re Initiative Petition No. 379, 2006 OK 89, 155 P.3d 32.
¶5 Further, petitioners' request does not seek equity, fairness, or justice. 
Instead, it seeks an exclusive and special time period designed by the 
procedural circumstances surrounding this initiative petition - a time period 
much longer than the statutory ninety days.1 Petitioners ask us to rewrite the statutory 
ninety-day time period for collecting signatures because of the peculiarities 
presented in this controversy. This we will not do.
¶6 In their appeal, petitioners requested additional time to collect 
signatures or, in the alternative, a new ninety (90) day period to collect 
signatures. Part IV of our opinion addressed petitioners' specific alternative 
requests. Agreeing with the Attorney General that a proponent of an initiative 
petition "gets only one 90-day period to collect signatures," we decided 
that petitioners' time to collect signatures "does not begin until completion of 
that appeal." In Re: Initiative Petition No. 397, State Question No. 767, 
2014 OK 23 at ¶ 70. In other 
words, we ruled that the circulation of the initiative petition and the 
collecting of signatures must begin again after this appeal is finally 
determined.
¶7 "Rehearing is not for rearguing a question which has been previously 
presented and fully considered by this Court." Tomahawk Resources, Inc. v. 
Craven, 2005 OK 82, ¶1, 130 P.3d 222, 224 (Supplemental 
Opinion on Rehearing). Here, petitioners present a point that we clearly 
resolved in our opinion when we said a proponent of an initiative petition "gets 
only one 90-day period to collect signatures."
¶8 Petitioners' petition for rehearing is denied. No second rehearing request 
may be filed. Okla.Sup.Ct.R. 1.13, 12 O.S.2011, ch. 15, app. 1. The opinion in 
this controversy shall be final on the first business day after this order is 
filed with the Clerk of the Supreme Court. This order shall be published and 
appended to the opinion of the Court in this controversy.
/S/VICE CHIEF JUSTICE
Reif, V.C.J., and Kauger, Watt, Winchester, Edmondson, Taylor, Combs, and 
Gurich, JJ., concur.
Colbert, C.J., not voting.
FOOTNOTES
1 We do not know 
the exact amount of time petitioners are requesting. The number of days during 
which petitioners have already circulated the initiative petition is not before 
us. The record does reflect that the initiative petition and ballot title were 
filed with the Secretary of State on Wednesday, September 18, 2013; the AG did 
not respond within the allowed five (5) business days on Wednesday, September 
25, 2013; petitioners began gathering signatures on Thursday, September 26, 
2013; the AG objected to petitioners' ballot title on Friday, September 27, 
2013; the AG submitted a new ballot title on Friday, October 11, 2013; 
petitioners filed this appeal in this Court on Thursday, October 17, 2013; and 
petitioners continued its signature campaign from September 26th until it had collected over 100,000 signatures using, we 
assume, the rejected ballot title in the petition as both the ballot title and 
the gist of the proposition.





	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	Oklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;2014 OK 23, 326 P.3d 496, IN RE: INITIATIVE PETITION NO. 397, STATE QUESTION NO. 767Discussed at LengthCitationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;1987 OK 43, 737 P.2d 1191, 58 OBJ        1552, U.C. Leasing, Inc. v. State ex rel. State Bd. of Public AffairsDiscussed&nbsp;1987 OK 61, 743 P.2d 648, 58 OBJ        1982, Estate of Speake, Matter ofDiscussed&nbsp;1988 OK 4, 749 P.2d 542, 59 OBJ        182, B.C., Matter ofDiscussed&nbsp;1990 OK 29, 789 P.2d 1305, 61 OBJ        854, United Airlines, Inc. v. State Bd. of EqualizationDiscussed at Length&nbsp;1990 OK 44, 855 P.2d 568, 61 OBJ        1114, Franco-American Charolaise, Ltd. v. Oklahoma Water Resources Bd.Discussed&nbsp;1990 OK 111, 800 P.2d 235, 61 OBJ        2893, Lone Star Helicopters, Inc. v. StateDiscussed&nbsp;1991 OK 8, 806 P.2d 626, 62 OBJ        550, Henderson v. MaleyDiscussed&nbsp;1991 OK 55, 813 P.2d 1019, 62 OBJ        1880, Initiative Petition No. 347 State Question No. 639, In reDiscussed&nbsp;1992 OK 92, 836 P.2d 1275, 63 OBJ        1920, Castro v. KeyesDiscussed&nbsp;1992 OK 93, 836 P.2d 1279, 63 OBJ        1924, George L. Verity Management Development Corp. v. KeyesDiscussed&nbsp;1992 OK 94, 836 P.2d 1282, 63 OBJ        1923, Oklahoma City Golf and Country Club v. KeyesDiscussed&nbsp;1993 OK 37, 850 P.2d 1069, 64 OBJ        978, Ethics Com'n of State of Okl. v. CullisonDiscussed&nbsp;1994 OK 97, 879 P.2d 810, 65 OBJ        2546, In Re Initiative Petition No. 360, State Question No. 662Discussed at Length&nbsp;2001 OK 29, 22 P.3d 695, 72 OBJ        1046, BARRINGER v. BAPTIST HEALTHCARE OF OKLAHOMADiscussed&nbsp;1952 OK 229, 245 P.2d 452, 206 Okla 583, STATE v. DEPARTMENT OF PUBLIC WELFAREDiscussed&nbsp;2001 OK 39, 24 P.3d 846, 72 OBJ        1479, S. W. v. DUNCANDiscussed&nbsp;1917 OK 229, 165 P. 419, 63 Okla. 285, STATE ex rel. FREELING v. LYONDiscussed&nbsp;1932 OK 141, 11 P.2d 164, 155 Okla. 165, BERRYMAN v. BONAPARTEDiscussed&nbsp;1967 OK 230, 434 P.2d 941, IN RE INITIATIVE PETITION NO. 281, ST. Q. NO. 441Discussed&nbsp;2002 OK 61, 51 P.3d 585, SATELLITE SYTEMS, INC. v. BIRCH TELECOM OF OKLAHOMA, INC.Discussed&nbsp;1995 OK 129, 910 P.2d 972, 66 OBJ        3710, R.R. Tway, Inc. v. Oklahoma Tax Comm.Discussed&nbsp;2003 OK 79, 78 P.3d 83, STATE ex rel. STATE INSURANCE FUND v. GREAT PLAINS CARE CENTER, INC.Discussed&nbsp;2004 OK 9, 89 P.3d 1051, AMERICAN ECONOMY INSURANCE COMPANY v. BOGDAHNDiscussed&nbsp;2004 OK 12, 87 P.3d 572, STATE v. TORRESDiscussed&nbsp;2004 OK 16, 87 P.3d 598, CHANDLER (U.S.A.), INC. v. TYREEDiscussed&nbsp;2004 OK 60, 102 P.3d 120, IN RE: DE-ANNEXATION OF CERTAIN REAL PROPERTY FROM THE CITY OF SEMINOLEDiscussed&nbsp;2004 OK 61, 95 P.3d 1090, MCCATHERN v. CITY OF OKLAHOMA CITYCited&nbsp;2004 OK 69, 98 P.3d 1092, BRADSHAW v. OKLA. STATE ELECTION BOARDDiscussed&nbsp;2004 OK 84, 102 P.3d 670, HEAD v. McCRACKENDiscussed&nbsp;2005 OK 15, 109 P.3d 336, IN THE MATTER OF J.L.M.Discussed&nbsp;2005 OK 46, 121 P.3d 1070, COLTON v. HUNTLEIGH USA CORP.Discussed&nbsp;2005 OK 82, 130 P.3d 222, TOMAHAWK RESOURCES, INC. v. CRAVENDiscussed&nbsp;2006 OK 16, 133 P.3d 281, CITY OF ENID v. PUBLIC EMPLOYEES RELATIONS BOARDDiscussed&nbsp;2006 OK 32, 136 P.3d 656, YDF, INC. v. SCHLUMAR, INC.Discussed&nbsp;1996 OK 41, 913 P.2d 1339, 67 OBJ        1027, Johnson v. Bd. Of Gov. of Registered DentistsDiscussed&nbsp;1930 OK 461, 293 P. 1056, 146 Okla. 207, LOONEY v. COUNTY ELECTION BD.Discussed&nbsp;2006 OK 89, 155 P.3d 32, IN RE: INITIATIVE PETITION NO. 379Discussed at Length&nbsp;2007 OK 29, 158 P.3d 1067, TERRY v. BISHOPDiscussed&nbsp;2007 OK 48, 164 P.3d 125, IN RE: INITIATIVE PETITION NO. 384, STATE QUESTION NO. 731Discussed&nbsp;1929 OK 122, 282 P. 322, 140 Okla. 160, CITY OF TULSA v. WHITTENHALLDiscussed&nbsp;2008 OK 9, 184 P.3d 496, TYLER v. SHELTER MUTUAL INSURANCE CO.Discussed&nbsp;1929 OK 383, 282 P. 459, 140 Okla. 206, BAUGH v. LITTLEDiscussed&nbsp;2008 OK 87, 194 P.3d 1285, WILLIS v. SEQUOYAH HOUSE, INC.Discussed at Length&nbsp;1996 OK 122, 927 P.2d 558, 67 OBJ        3423, In re Initiative Petition No.  363, State Question No.  672Discussed at Length&nbsp;2009 OK 91, 227 P.3d 1060, POWERS v. DISTRICT COURT OF TULSA COUNTYDiscussed&nbsp;2010 OK 3, 230 P.3d 853, ROGERS v. QUIKTRIP CORP.Discussed&nbsp;2010 OK 31, 232 P.3d 458, STATE ex rel. OKLAHOMA CORPORATION COMMISSION v. McPHERSONDiscussed&nbsp;2011 OK 10, 257 P.3d 984, FENT v. HENRYDiscussed&nbsp;2011 OK 68, 267 P.3d 838, OKLA. PUBLIC EMPLOYEES ASSOC. v. STATE ex rel. OKLA. OFFICE OF PERSONNEL MANAGEMENTDiscussed&nbsp;2011 OK 84, 264 P.3d 1197, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MOTHERSHEDDiscussed at Length&nbsp;2012 OK 8, 276 P.3d 989, IN THE MATTER OF THE GUARDIANSHIP OF STANFIELDDiscussed&nbsp;2012 OK 97, 295 P.3d 1123, COLCLASURE v. COLCLASUREDiscussed&nbsp;2012 OK 107, 292 P.3d 29, HOGG v. OKLAHOMA COUNTY JUVENILE BUREAUDiscussed&nbsp;2013 OK 14, 297 P.3d 378, STATE ex rel. BOARD OF REGENTS OF THE UNIVERSITY OF OKLAHOMA v. LUCASDiscussed&nbsp;2013 OK 24, 301 P.3d 407, W.R. ALLISON ENTERPRISES, INC. v. COMPSOURCE OKLAHOMADiscussed&nbsp;2013 OK 93, 313 P.3d 253, CLINE v. OKLAHOMA COALITION FOR REPRODUCTIVE JUSTICEDiscussed&nbsp;2013 OK 100, 318 P.3d 206, TROXELL v. OKLAHOMA DEPT. OF HUMAN SERVICESCited&nbsp;2014 OK 23, 326 P.3d 496, IN RE: INITIATIVE PETITION NO. 397, STATE QUESTION NO. 767Discussed at Length&nbsp;1978 OK 65, 578 P.2d 1200, AUSTIN, NICHOLS &amp; CO. v. OKL. CTY. BD., ETC.Discussed&nbsp;1925 OK 518, 237 P. 1110, 110 Okla. 263, SCHOOL DIST. NO. 61 v. CONSOLIDATED DIST. NO. 2Discussed&nbsp;1981 OK 56, 632 P.2d 376, Gulfstream Petroleum Corp. v. LaydenDiscussed&nbsp;1997 OK 125, 946 P.2d 669, 68 OBJ        3327, LARRY JONES INTERNATIONAL MINISTRIES, INC. v. MEANSDiscussed&nbsp;1982 OK 15, 649 P.2d 545, Initiative Petition No. 315, State Question No. 553, In reDiscussed at Length&nbsp;1950 OK 238, 222 P.2d 1032, 203 Okla. 438, In re INITIATIVE PETITION NO. 249Discussed&nbsp;1999 OK 43, 990 P.2d 845, 70 OBJ        1560, Independent Finance Institute v. ClarkDiscussed at Length&nbsp;1999 OK 44, 981 P.2d 1253, 70 OBJ        1664, Taylor v. State Farm Fire and Casualty Co.Discussed&nbsp;1985 OK 97, 714 P.2d 1013, 56 OBJ        2777, Oral Roberts University v. Oklahoma Tax Com'nDiscussedTitle 25. Definitions and General Provisions&nbsp;CiteNameLevel&nbsp;25 Ohio St. 23, Year, Month and Day CalculationsCited&nbsp;25 Ohio St. 82.1, HolidaysDiscussedTitle 34. Initiative and Referendum&nbsp;CiteNameLevel&nbsp;34 Ohio St. 2, Initiative Petition - FormDiscussed at Length&nbsp;34 Ohio St. 3, Petitions and SignaturesDiscussed&nbsp;34 Ohio St. 4, Filing and Binding - Cover Sheets - ReceiptDiscussed at Length&nbsp;34 Ohio St. 8, Filing Copy of Proposed Petition - Publication - Protest - Hearing and DeterminationDiscussed at Length&nbsp;34 Ohio St. 9, Ballot Title - Filing - Review - AppealDiscussed at Length&nbsp;34 Ohio St. 10, Appeal Upon Question of Ballot TitleDiscussed at Length&nbsp;34 Ohio St. 11, Procedure Upon AppealDiscussed at Length&nbsp;34 Ohio St. 24, Only Substantial Compliance RequiredDiscussedTitle 68. Revenue and Taxation&nbsp;CiteNameLevel&nbsp;68 Ohio St. 1203, Franchise or Excise Tax upon Corporations, Associations, Joint-stock Companies and Business TrustsCitedTitle 75. Statutes and Reports&nbsp;CiteNameLevel&nbsp;75 Ohio St. 252, Filing as Condition of Validity - Notification of Failure to ComplyCited


				
					
					
				
             
         
        
            

		